                                                                                                                                      5/}(
                                                       THE TINITED STATES DISTRICT COURT
                                                       TN
                                                    FOR THE NORTIIERN DISTRICT OFILLINOIS
                                Grace L. Stovall
                                       Plaintiff
Amy Mccarty et, al. lngrid Brown et, al. Jamie Bender et, al. John Whitcomb et, al.           )
Platinum Healtlrcare et, al. platinum Healthcare emptoyees et, al. Beniamin flein et, al.
Sen amln Topp et, al, Mlchele Henry et, al. Mldwest Car€ ManaSem€nt Se,vlces et, al,
                                                                                              )
                                                                                                  case   Number:    17 - CV - 4762
Damon lroucet et, al. Shlr€lle James et, al. Tarlck toutfl €t, al. Leonard Mlskl'rs et, al.   )
Monahan & Cohen taw Group et, al. Mlskui Btate S€rvlces et, al. Jo3eph Monahan et, al.
Mark Rlcks 6t, al. @ Home Heahh (ere e! al. Tarlck Loutfl and Assoclates et, al.              )
Geoffrey Shaw et, el. Tanya Topp et, al. victorla Topp et, al, Robln Webber et, al,           )   Judge:        Judge John Z- Lee
lmperlal ToweE Condominlums et, al. Jam6 nohmng ei, al. Admlral Securlty et, al.
Ounc.n Sattler et, al. ,a6on Han et, al. Jay zabel et, al. Wllllam Ellsworth et, al.          )
PeSgy Budwlg et, al, Shamlran Aro et, al. Amy Orlando et, al. Carla Flesslnger er, al.
                                                                                              )
City of Chicago et al, City of Chicago Department of Police et, al.
Chlcago Pollce Offlcer: R. Mohammad Aburlreg Badge f lO8Z5                                    )
Chl€a3o Pollce Offlcer : Brlan McMahon Badge * 21393
Chlcago Pollce Offlcen ,ohn p. O1eary




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Chlcago tbll€e Off,cen Wade H. dart Badge: 12538
Chlcago Pollce Offfcer: Robert Murphy Badge r 3786
Chlce8o pollce Offlcer: Xnysztof Gmedrletko Eadge s 18696
Dorothy Brown, Oerk of the Circuit Courts, in her individual and official capacity
      Sanjay Tailor in his individual and offlcial capacity
       Ann Colllns-Dole ln her lndlvldual and offlclal capaclty
       Judlth Rlce ln her Indtvldual and off,ctal capaclty
                                                                                                              Nol/ -12020tr6
       Xathleen McGury ln her indlvHual and offlcial capaclty
       Oanlel Degnan ln hls lndlvldual and offtclal capaclty                                                THOMASG. BRUTON
       Jesse Outlaw ln hls lndlvldual and offlclal capaclty                                              CLERK, U.S. DISTRICT COURT
       Franklln Valderama ln hts indlvldualand offlclal capactw
Gerald Jones ln hb lndlvldual and offlclal capaclty
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Jeff Mathls ln hls lndlvldual and offhlal capaclty
Carly Johnson ln her tndlvldual and offlclal capacl$
Imothy Kelly ln hb lndlvldualand offtctal capaclty
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8€n amln Caraneang ln hb lndlvldual and offlclal capaclty
Non Record and Unknown Defendants
Oefendants




    Plaintiffs Motion to File Local Rule 56.1 Statement of Disputed Material Facts
   with 115 exhibit pages in support of her response in opposition to the Defendants motion
         for summary judgement and to declare that there are Triable lssues of Facts.


   1. Now Comes Grace L. Stovall, Plaintiff, filing her motion 55.1 Statement of
      Disputed Material facts with 115 exhibit pages in support of her response
      in opposition to the Defendant's motion for summary judgement and
      to declare that there are Triable lssues of Facts.




Respectfully Submitted,
By Grace L. Stovall, Aggrieved Plaintiff
            Plaintiff's 56.1(bl(3lstatement of Additional Facts
Now Comes the Plaintiff, Grace L. Stovall providing the following statement
of additional facts in support of her response in opposition to the Defendant's
motion for summary judge.
I Grace L. Stovall.   aggrieved Plaintiff state under oath that there are Triable Issues of Facts.

The Defendants Summary Judgement should be denied due to the Defendant City of
Chicago's motion for a summary judgement is unethical, fraudulent and inappropriate.

This valid Federal Court case does not meet the criteria for this type of motion.

This illegal act is absolutely 'fraud upon the court" implemented by the
Defendant City of Chicago's counsels who have willfully violating their Oath
of Office to aid and abet these criminals, which makes them liable.
The evidence confirms that the Defendant City of Chicago's employees willfully
and illegally violated their Oaths of Office and continue to violate the Plaintiffs
Constitutional and Civil rights when they willfully failed to prosecute these
offenders and their accomplices for these serious Federal offences when the
PIaintiff reported a "Crime in Progress".
The City of Chicago's obligation and job is to respond to reports on "crimes in
progress, not ignore crimes in progress.

The Defendant City of Chicago's willful inaction is the reason these offenders
have committed crimes and repeatedly re victimized the Plaintiff.

The Defendant City of Chicago through its management approved the acts
giving rise to liability.
The Defendant City of Chicago's inaction has been an issue in a multitude of
Federal Court cases filed against the City of Chicago and its corrupt employees,
this is a matter of record.




                                                                             Exhibit Page 1of 115
(Attorney Seth Gillman committed this same type of multi-year Healthcare fraud
scheme and as a result of his crimes (attorney) Seth Gillman was convicted and
sentenced to 10 years in prison as a result of his prosecution by the United States
Attorney Federal prosecutors in Federal Court case United States of America vs
Seth Gilman and these criminals should suffer a worse fate.
Exhibits: Federal court case United States of America vs Seth Gillman.

The Defendant City of Chicago still has willfully failed to return the Plaintiffs
personal property, assets, clothing, shoes, valuables, cash and evidentiary
evidence that their public servants and their accomplices stole when they
conspired to rob, ransack and loot the Plaintiffs jobsites/residences in both
Chicago Police Theft Scheme ruse robbery home invasions incidents committed
on April L4,2OL5 and again on April 25,2AL6, that involved corrupt Chicago
Police officers that were armed with guns that illegally ransack and pilfer
personal property and cash during illegal residential home invasion searches and
they share the proceeds with their informants and accomplices.
Exhibit: (Newspaper articles about the infamous Chicago Police "Theft Scheme")
The City of Chicago's inaction encourages corrupt Chicago Police officers (armed with guns)
to repeatedly commit criminal trespass robbery home lnvasions at the Plaintiffs
jobsites/residences without a warrant, endangering the life of the Plaintiff who is a resident,
contracted live-in employee, plaintiff, Grace L. Stovall by willfully, illegalty and suddenly
invading the condominium where she worked for the owner of the condominium causing
the Plaintiff to fear for her life as the Defendant Chicago Police officers (armed with guns)
illegally breached building security protocol "escorting" a "mob" of criminal strangers in to
"hijack" and invade the condominium with their accomplices Offenders Platinum Healthcare
who have a criminal history of of QuiTam fraud and False Claims Acts violations, for
fabricating and falsifying false medical records and fraudulent billing.
Offender Platinum Healthcare was indicted and fined by the United States Government for
their Federal crimes of stealing United States Government Checks in Federal Court case:
United States of America vs Platinum Healthcare (case number 1-13 cv 06437, District Court,
N.D. lllinois. (Exhibits: Federal Case United States of America vs Platinum Healthcare)

The Chicago Police officers and their accomplices conspired to willfutly, intentionally and
repeatedly victimize Grace L. Stovall, the aggrieved Plaintiff in a "series" of illegal criminal
acts that the offenders Platinum Healthcare committed at the Plaintiffs jobsites/residences
and they must be made accountable and prosecuted for their illegal offences to prevent
future victimization and to make the Plaintiff whole.                         Exhibit Page 2 of 115
Offender Jamie Bender's stalking and audacious, prolific lies makes her dangerous
causing the Plaintiff fear to fear for her life.

Offender Jamie Bender and her accomplice's testimonies confirm that they had criminal
intent when the conspired to repeatedly stalk the Plaintiff at her jobsites/residences.
Offenders Platinum Healthcare willfully and illegally conspired with offenders Jamie Bender,
Amy McCarty, Damon Doucet, Michele Henry and their accomplices the corrupt Defendant
Chicago Police officers as they conspired to use their Police presence to illegally trespass into
the condominium building, by breaching security protoco! to illegally invade the
condominium without a warrant.

Roberta Brown is a famous celerity pianist that requires a higher Ievel of security
    to protect her from criminals committing illesal atrocities like this one.
The evidence confirms that Roberta Brown has bodyguards in place when she performs.

These perpetrators are repeat violators in a multi-year Healthcare Fraud scheme and must
be prosecuted for their conspiracy to illegal commit Federal offences of Qui-tam Fraud and
False Claims Act. Violation's which they continued to  willfully and audaciously commit
after they settled the Federal case that the United States of America filed against them.

Repeat Offenders Platinum Healthcare have conspired with their accomplices must be
prosecuted to prevent future victimization because they obviously had no remorse when
they settled the Federal Lawsuit United States of America vs Platinum Healthcare 13cv06437

Offenders Amy McCarty, lngrid Brown, Jamie Bender, Damon Doucet, Tarick Loutfi,
Joseph Monahan, Monahan & Cohen, Benjamin Topp, Midwest Care Management services,
Michele Henry have a criminal history of Qui-Tam Fraud, False Claims Acts violations for
"false diagnosis and fabricating false and fraudulent medical records and fraudulent billing
on victims that don't need and don't want their illicit "backdoor" services and they are all
skilled in fraud, deception, money Iaundering, unjust enrichment, self- dealing and ill-gotten
gains and public and political corruption.

The Defendant City of Chicago and the Defendant City of Chicago Police officers and their
counsels have conspired to willfully and wantonly aid and abet these serial criminals
Platinum Healthcare and their accomplices offenders Amy McCarty, Joseph Monahan of
Monahan & Cohen, Midwest Care Management Services, offender Geoffrey Shaw all of
whom are named offenders in this Federal lawsuit and violators of the False Claim Acts
and Qui-Tam Fraud.
                                                                              Exhibit Page 3 of 115
The Defendant City of Chicago's counsels have filed numerous significantly contradicting
deposition testimonies of these criminal offenders that are riddled with false altegations
that have no merit and not proof of anything they have alleged.
The Defendant City of Chicago's counsels willfully and illegally violated their Oaths of Offices
when they unethically and willfully concealed evidence to aid and abet these criminals
and commit Fraud upon the court by their willfully fabricating falsified declarations that are
"riddled with prolific lies and gross distortions that they knew were false when they willfutly
prepared and filed their frivolous, vexatious litigation that had no basis in law or fact.

The City of Chicago's Motion for summary judgement is fraudulent, inaccurate and invalid
and should be denied.

The Defendant City of Chicago's counsels have willfully conspired to illegally violate their
Oaths of Offices to commit fraudulent concealment and fraudulent misrepresentation.

The Defendant City of Chicago's counsels conspired to illegally conceal evidence to aid and
abet these offenders (including repeat offenders Platinum Healthcare.

The Defendant City of Chicago's counsels conduct was willful and wanton and the counsel
knew the statements were false statements of material facts.

The Defendant City of Chicago's counsels have filed numerous contradicting testimonies
declared by these offender and their accomplices, the Defendant Chicago Police officers.

These public servants are under oath and have a duty and responsibility to uphold and
enforce the laws and be called to an accountability for willfully failing to do so.

The Defendant City of Chicago and its counsels have willfully conspired to allow
these offenders to repeatedly commit crimes without punishment.
Defendant City of Chicago's counsel Mark Flessner and his accomplices Michele McGee,
Bret Kabacinski, Dana O'Malley, Edward Siskel, Jonathan Clark Green, Allison Romelfanger,
and Raoul Mowatt conspired to willfull and wantonly violate their Oaths of Office by
perverting the course of justice to commit liable. Slander, defamation of character by their
willfully preparing and fabricating audacious, prolific lies that had no merit and no proof.

The Defendant City of Chicago's counsels have willfully, illegally and fraudulently
declared false allegations with no proof of anything they have alleged.
The Defendant City of Chicago through its management approved the acts and
omissions giving rise to liability.
                                                                          Exhibit Page 4 of 115
The fraudulent acts and omissions was that of employees who were acting in the
scope of their employment and these employees that are responsible for their
corrupt, fraudulent acts and omissions were unfit and the Defendant City of
Chicago was reckless in employing them.

The fraudulent acts and omissions of Mark Flessner and his accomplices was that
of an employee who was acting in the scope of his employment and as an
employee is responsible for his corrupt, fraudulent acts and omissions as
Defendant City of Chicago's counsel Mark Flessner was unfit and the Defendant
City of Chicago was reckless in employing him.


The Defendant City of Chicago counsels have willfully and wantonly committed malfeasance
and "fraud upon the court" by their refusing to depose these offenders Platinum Healthcare
that illegally committed criminal aggravated robbery home invasion along with the corrupt
Chicago Police officers along and the other offenders in their illegal efforts to aid and abet
and harbor the offenders Platinum Healthcare and conceal evidentiary evidence and
obstruct justice.



The Defendant City of Chicago counsels have implemented attorney misconduct to conceal
evidence regarding the offenders Platinum Healthcare and offenders Amy McCarty of
Monahan & Cohen and Joseph Monahan who are all "infamous" for conspiring with corrupt
Chicago Police officers to implement their "hijacking" Chicago Police'Theft Scheme" Ruse
Robberies, Qui-tam Fraud and False Claims Acts violations in a multiyear Healthcare Fraud
Scheme that involves money laundering, kidnapping and a multitude of Federal offences
which makes them liable.

The City of Chicago Police officers committed this exact same Chicago Police Theft Scheme"
scam at the Plaintiffs "previous" jobsite/residence as they made the same false allegations
that had no merit and no proof.
ln the Federal Case 20tG cv 4004, Grace Stovall vs City of Chicago et, al. and City of Chicago
Police officers.
This case was eventually settled after many years of time consuming costly litigation and the
amount did not adequately cover the property that they stole nor the massive damages that
were caused by the Defendant City of Chicago Police officers and their accomplices.

lssues that were never resolved in the previous case caused this   "future victimization"
of the Plaintiff by these offenders, which are the same issues in this lawsuit. Page 5 of 115
The City of Chicago and its corrupt Chicago Police officers and these accomplices stalked the
Plaintiff and followed the Plaintiff, Grace L. Stovall to her new job and committed the same
offences.

The City of Chicago and its corrupt Chicago Police officers have used this exact same Chicago
Police Theft Scheme" Ruse Robberies to rob the plaintiff at her jobsites/residences while the
corrupt Chicago Police officers stalk and re victimize the Plaintiff, Grace L. Stovall over and
over again using these exact same fraudulent, false allegations that have no merit.

ln Plaintiff s previous Federal lawsuit that she filed against the Defendant City of Chicago
and its corrupt Chicago Police officers (armed with guns) for illegally trespassing without a
warrant and without probable cause while endangering the life of the employee, Plaintiff,
Grace Stovall in Federal case 2016 cv 4004 while she worked as a live-in caregiver, assistant
manager, employee for the owner of the premises and in that federal case the Defendant
Chicago police officers conspired to stalk her and illegally interfering with her job and bust
down the doors with a battering ram, and snatch her out of the shower naked and sprayed
her in the face with mace and illegally arrested her using these exact same "hijacking" tactics
involving these same offenders Amy McCarty, Damon Doucet, Tarick Loutfi Casandra Melton
Darlene Racker, Lester Racker Sr., Lester Racker ir. (a felon) and their accomplices that the
corrupt Chicago Police officers recruited to file their willfully falsified police reports for the
"fake crimes"      based on their willfully fabricated, audacious lies that had no merit, to arrest
the Plaintiff and inflict her life with an illegal criminal record to stop her from working a job.
This illegal arrest never had a warrant to arrest the Plaintiff and the illegal arrest was never
authorized and did not have any Judges signature on the arrest record.

Exhibit: illegal, unsigned, unauthorized arrest record HY298643 that was illegally filed by
Offender Lester Racker (a felon) accomplice that the Chicago Police recruited to file the false
police report for the "fake crime" of theft from a dead corpse, in a casket at the A.A. Rayner
and Sons Funeral Home which is in violation of the law due the corrupt Chicago Police
officers willfully wrote police reports for the "corpse" being robbed and it is illegal to write a
police report for a "corpse" being robbed in the casket.
Exhibit   corpse
This lie has no merit and this atrocity has inflicted my life with an illegal criminal record that
the Plaintiff wants recanted by this felon, Offender Lester Racker and Dwayne Thompson
who must be prosecuted for his conspiring with offender Tarick Loutfi, Amy McCarty,
Damon Doucet, Casandra Melton, Dwayne Thompson and Darlene Racker and their
accomplices the corrupt Chicago Police officers to willfully falsify Police reports and for his
criminal involvement to commit the criminal trespass aggravated robbery home invasion
with the corrupt Chicago Police officers at the Plaintiff's "previous" iobsite/residence.
Page 6 of 115
Due to fraud and corruption these offenders Lester Racker, Dwayne Thompson and their
accomplices have never been prosecuted for their causing the demise of Frederick Gibson
and their willfully falsifying fabricated police reports with the police, robberies and for these
crimes that they have repeatedly committed against the Plaintiff, Grace L. Stovall.
Plaintiff, has filed numerous complaints and charges with the proper authorities to
prosecute offender Lester Racker, Dwayne Thompson and their accomplices, however the
Chicago Police officers has aided and abetted these criminals to illegally obstruct justice and
allow them to continue to stalk the Plaintiff to her next job and commit the exact same
offences of criminal aggravated robbery home invasions involving the corrupt City of
Chicago Police officers and their accomplices which has resulted in this federal lawsuit
against the City of Chicago and its corrupt Chicago Police officers.

The City of Chicago Counsels and counsel Edward Siskel is fully aware of the Plaintiff Grace
Stovall's previous Federal lawsuit involving the same Chicago Police "Theft Scheme" Ruse
Robbery scam in this Federal case that she filed against the Defendant City of Chicago in
Grace Stovall vs Defendant City of Chicago, Defendant Chicago Police officers, 2016 cv 4004.
Exhibit: Federal case Grace Stovall vs City of Chicago, City of Chicago Police officers.

This Federal Case ?,OLO cv 4004 involves the exact "same" issues involving the Plaintiffs
previous job as a live-in caregiver working for her client the owner, however the Defendant
City of Chicago has willfully filed frivolous vexatious litigation for issues that were previously
addressed in the Plaintiffs previous Federal lawsuit Stovall vs City of Chicago Police officers
Federal case 2016 cv 4004.

Then to add insult to injury the Defendant City of Chicago Counsels breached the
confidentiality order and they fraudulently and unethically filed the false arrest record
of the Plaintiff as an exhibit to commit fraud upon the court and discredit the Plaintiff.

The Defendant City of Chicago's counsels involved in this case are presently
continuing to willfully and illegally circulate more of their willfully falsified
misinformation, false rumors, insults, !iable, slander, defamation that includes
malicious content that has no merit.

Plaintiff objects to the Defendant's footnotes l and 2 on page 1
of their request for summary judgement as the Defendants have signed
affidavits that these declarations are true, therefore the Defendants
counsel does not reserve any rights to contest, change nor alter in any
way the declarations made in their unethica!, fraudulent request for
SUmmary      jUdgement.                                                               PageT or 115
The offenders willfully failed to file their required affidavits with their
Federal Court Deposition !nterviews.
                                       Declaration of Grace            L.   Stovall
l, Grace L. Stovall, Plaintiff, state under oath that the following facts are true and correct to the best of my knowledge.

Further Affiant Sayeth Not:

Grace L. Stovall, Plaintiff                                                                            November 2,2020

In support thereof,

Plaintiff states as follows:
PIaintiff Grace L. Stovall is a 57 year old female.
On April 25,?:OLG Grace lived at 4250 North Marine Drive, Unit #724, where she provided
full-time live-in assistance to Roberta Brown through a company called @ Home Healthcare.
Grace had worked for Ms. Roberta Brown for a year and had moved into the residence on a
permanent basis starting in November of 2015.
ln the late afternoon on April 25,20L5, three Chicago Police officers,
Mohammad Aburizeg, Wade Clark, and John O'Leary, entered her
residence accompanied by a "group" of civilian strangers.
The Defendant Chicago Police officers did not have a warrant and they did not have
probable cause and they did not have consent to enter the residence, they illegally breached
the condominium building's security protocol to illegally escort the "group" of offenders
past security checkpoints by using their police presence to illegally access the condominium
building's 7th floor unannounced and without permission from Roberta Brown and without
permission from the Plaintiff.

The Defendant Chicago police officers and the group of strangers did not knock to announce
their presence; nor did they present any court order granting them access to the residence
nor prohibiting Grace from being present in the residence.

Grace was in her private bedroom when the police officers entered the bedroom and told
her that she was under arrest.

Grace was surprised and terrified to see three white police officers suddenly appear
in her bedroom.




                                                                                                        Page 8 of 115
One of the officers pulled her hands behind her back, and a second officer searched her
person, again without probable cause, consent or a warrant.
One or more of the officers pushed her hard out of the bedroom and the residence
condominium.

The push felt like a strong hit and was painful.

The Police officers and the civilian strangers were smiling at each other the entire time.

At no point did Grace resist or fight back; she was completely compliant, while these police
officers false imprisoned her.

She was not armed and posed no immediate threat of physical harm to the officers or the
civilian in the residence; nor did she attempt to flee or escape.

Ms. Brown was calling out Grace's name and asking for Grace's help but the officers
continued to push Grace out of the residence, down to the elevator, and out of the building.

Grace was not allowed to gather or retrieve her personal belongings.

Grace was never charged with committing any criminal offences.

Grace recalled three male Chicago Police officers being present in close proximity to each
other the entire time.
Any one of the male police officers could have stopped the assault but failed to do so.

The Defendant Chicago Police officers will not make credible witnesses.
Despite testifying that they were called to the residence by the "group of strangers" that
were downstairs in the lobby of the building in response to a "alleged" disturbance and they
were told by the group of strangers that they were needed "in case things got physical"
no one told them why their safety was in jeopardy nor did any officer bother to ask.

The Police officers did not check any identifications nor verify that the individual who
wanted Grace removed had the legal right to do so.
Officer Clark who was the senior officer in charge, admitted that no one mentioned an
order of protection and that he was not shown one.

However if an "alleged" order of protection did exist it was not verified if one actually
existed or if it was served on Grace in violation of departmental policy.

Furthermore, despite denying in their answer to the complaint that they entered the
residence condominium, all three men not only entered the residence but also entered
Grace's bedroom.
                                                                                  Page 9 of 115
Offender Amy McCarty testified that "everybody was in the condominium"
Exhibit: Offender Amy McCarty's Federal Court Deposition lnterview, Octob er 29,20L9,
File No: 2854.4
Exhibit: Defendant Clark, Federal Court Deposition, testified that all of them were in the
condominium.

          False lmprisonment occurs when a person intentionally restricts
       another person's movement within any area without legal authority,
                        without iustification or consent.
    Actual physical restraint is not necessary for false imprisonment to occur.


Months later, on October t,2Ot6, Grace returned to the residence pursuant to a court order
  that gave her permission to identify and retrieve her personal belongings and assets.
Chicago Police officer Murphy and Gmedziejko were present and physically "blocked      "
her from identifying and taking her property and assets.

Offender Amy McCarty was present with the officers and offender Amy McCarty physically
blocking the door to prevent Grace from identifying and taking her property and assets.
Offender Amy McCarty came at Grace in an absolute rage and she violently pushed Grace
and slammed Grace's foot in the door of the condominium.

Grace was wearing a visible neck and back brace for injuries from the previous assault and
battery.
Grace demanded that the offender Amy McCarty be arrested for assault, but the police
officers refused to arrest offender Amy McCarty.

Offender Damon Doucet willfully committed perjury in his Federal Court deposition
when he testified that he knew nothing about the Plaintiff prior to this.

Evidence confirms that Offender Damon Doucet and Offender Amy McCarty conspired to
victimize the Plaintiff at her "previous" iobsite/residence where they also robbed the
Plaintiff and these offenders stole everything in the residence on April 14,20t5 involving
their accomplices and corrupt Chicago Police officers.
Offenders Amy McCarty and Damon Doucet knew all about the Plaintiff "previously"
when they conspired with offenders Tarick Loutfi and Casandra Melton, Lester Racker
Darlene Racker to commit a previous criminal aggravated robbery home invasion at the
Plaintiffs "previous" jobsite/residence by committing these "same" crimes repeatedly
involving numerous corrupt Chicago Police officers (armed with guns) involved in the same
"infamous" Chicago Police "Theft Scheme" Ruse Robbery      Scam.                Page 10 of 115
(The Defendant Chicago Police officers did not have a warrant and did not have probable
cause to illegally invade the Plaintiff's jobsite/residence in this case either.
Exhibit: Federal Case 2016 cv 4AO4, Stovall vs City of Chicago Police officers et, al.
Exhibit: B, Stovall

These illegal atrocities have illegally robbed the plaintiff of her livelihood to stop from
working a job in her profession.


The Iaws must be enforced to administer accountability to stop the present
victimization and prevent future victimization of the plaintiff. Grace L. Stovall.
The laws must be enforced to administer accountability for the "past victimization'
of the plaintiff that was illegally implemented by the Defendant City of Chicago's corrupt
employees, Defendant City of Chicago Police officers and their accommplices offenders Amy
McCarty, Damon Doucet, Tarick loutfi, and Casandra Melton.

The laws must be enforced to stop the "present victimization" of the plaintiff that is
currently being illegally implemented by the Defendant City of Chicago's employees, and
numerous Chicago police officers and their accommplice offenders Amy McCarty,
Damon Doucet, Tarick Loutfi and Casandra Melton.

The Iaws must be enforced to prevent "future victimization" of the plaintiff that could be
illegally implemented by the Defendant City of Chicago's corrupt employees, Chicago police
officers and their accomplices offenders Jamie Bender, Amy McCarty, lngrid Brown, Damon
Doucet, Tarick Loutfi, Casandra Melton, Lester Racker, Darlene Racker, Dorothy Brown,
Sanjay Tailor and their accomplices who have criminal intent and conspired to willfully
violate their Oaths of Office to aid and abet criminals by their assembling a team of corrupt
public servants to willfully and illegally commit Qui-Tam Fraud and False Claims Act Fraud
by exerting financial and political influence involving fraud, tampering with court records,
bribery, money laundering, kickbacks, financial exploitation, malfeasance, police corruption,
involving conspiracy to commit bribery of offenders Sanjay Tailor and Dorothy Brown to
illegally fix court cases and tamper, destroy, alter court records to avoid prosecution in a
multi-year scheme that is operating in the Daley Center building.

The Defendant City of Chicago's counsels and employees have willfully committed
malfeasance and willfully violated their Oath of Office by conspiring to willfully conceal
evidence to impede, manipulate and undermine this valid case by willfully violating their
oath of office resulting in their willful "failure to act" which makes them and their
accomplices liable every time they maliciously perpetrate these crimes against the Plaintiff,
Grace L. Stovall.                                                                  Page 11 of 115
ln regards to protecting oneself from "abusive' public servants; "stalking and exploitation'
as well as "neglect to protect" provisions in law (upholding and enforcing the law by parties
under Oath of Office) as well as "neglect to protect" by persons under Oath,
wherein a person having "knowledge of the law", "the power to stop a wrong" and
the "duty to prevent a wrong from being done" is liable for any failure to act.
These Defendants and offenders that were under Oath of Office willfully "committed a
wrong", " failed to prevent a wrong from being done", having knowledge of the law,
the power to prevent, and the legal and moral duty to prevent the wrong which caused
deprivations of the Plaintiffs Civil rights and Constitutional rights, suit can be brought
against for violations.

   1. Plaintiff   Grace L. Stovall   ("Plaintiff') has brought this action pursuant to 42 U.S.C. -ss
        1983-and lllinois Law.
        Response: Agreed.

   2.   The court has jurisdiction over this matter pursuant to 28 U.S.C.ss-1343,1331 and
        L367 and venue is proper in this District pursuant     to 28 U.S.C. 1391(b), Exhibit A, FAC
        2.
        Response: Agreed.
   3. Plaintiff  was at all times relevant to this matter and a Cook County lllinois resident.
        Exhibit A, FAC,3.
        Response: Agreed.
   4.   Wade Clark ("Defendant CIark"). Mohammad Auburizeg ("Defendant Aburizeg"),
        John O'leary ("Defendant O'leary''), Brian McMahon ("Defendant McMahon")
        Krzysztof Gmedziejko ("Defendant Gmedziejko") and Robert Murphy ("Defendant
        Murphy") were employed by the City of Chicago and acting in their official capacity
        within the scope of their employment at all times relevant to the Plaintiffs complaint.
        Exhibit A, FAC, 4.
        Response: Agreed.
   5.   Defendant City of Chicago is a municipal corporation duly incorporated under the laws
        of the State of lllinois and at all times relevant hereto was the employer and principal
        of the Defendant Officers. Exhibit A, FAC, 5.
        Response: Agreed.
   6.   Response: Agreed
        Plaintiff previously brought charges against Defendants Wade CIark, Mohammad
        Aburizeg, John O'Leary, Krzysztof Gmedziejko, Brian McMahon and Robert Murphy.
        (ECF Nos,   46,49,48, 50, 62.1.
        Response: Agreed.
        T.Response: Objection.                                                          Page 13   of 115
      PIaintiff made charges against all of the Defendant Chicago Police officers being, Wade
      Clark, Mohammad Aburizeg, John O'leary, Krzysztof Gmedziejko, Brian McMahon and
      Robert Murphy.

S.Response: Objection.
Plaintiff identified the Defendant Chicago Police officers and she also identified their Badge
numbers.

   9.Response: Objection in part.
  This insinuation is deliberately incomplete to give a false depiction of the
  living arrangements.
  The Plaintiff worked and Iived in the condominium with her client, Roberta Brown to
  provide services that the client ordered from the @ Home Healthcare agency.

   10. Response: irreleva nt.
   Plaintiffs legal, binding employment contract with the owner, Roberta Brown,
   authorized the Plaintiff to work, move-in and live in the client's condominium as the
   resident employee.

      11. Response: Objection.
      Offender Jamie Bender does not live in the condominium.
      This offence was committed without Roberta Brown's permission.
      Offender lngrid Brown does not live in the condominium.
      This illegal act was committed without Roberta Browns permission nor knowledge.
      This illegal act was committed without the Plaintiffs permission nor knowledge.
      Offender Jamie Bender is an imposter and she is not blood related to my client,
      Roberta Brown and as she claims.
      Offender Jamie Benders birth certificate will prove that her lies have no merit.
      Offender Jamie Bender had criminal intent to get revenge against Roberta Brown
      by attacking, injuring and robbing Roberta's beloved caregiver and lying on Roberta
      to illegally "incarcerate" Roberta in a nursing home with a group of criminals that
      were indicted for Qui-tam fraud and false claims act fraud, while Offender Jamie
      Bender and her mother lngrid Brown continued to ravage Roberta Brown's
      Wells Fargo bank accounts by way of fraud and forgery involving Offender Amy
      McCarty who is infamous for filing falsified petitions involving corrupt Chicago Police
      Officers that commit Criminal aggravated trespass robbery home invasions that
      benefits the City of Chicago financially which is the reason these RICO racketeers
      continue to commit these crimes unopposed due to the City of Chicago's inaction and
      suppoft Of the   cf   imeS.                                                    Pase 14 or 11s



      Plaintiff objects to Offender Jamie Bender testifying for Offender lngrid Brown.
Plaintiff objects to Offender Jamie Bender's willful fraud upon the court by conspiring
to conceal evidence with the assistance of Defendant City of Chicago's counsels
whose iob is to represent the Defendant Chicago Police officers however,
these City of Chicago counsels (Michele McGee, Bret Kabacinski, Edward Siskel,
Dana O'Malley and Mark Flessner are obviously illegally representing these criminals that
conspired with the Defendant Chicago Police officers by way of filing frivolous, vexatious
litigation which makes them liable.
Exhibit C. Bender Affidavit.

   12.Response: Objection.
      Plaintiffs was hired by her client Roberta Brown to work as a contracted live-in
      resident caregiver/safety companion to her client Roberta Brown and there were
      other employees that Roberta Brown hired to provide daily services for her (7 days
      per week.


      Robin Webber cooked meals 3 times per day, (everyday), 3 times per day she would
      cook breakfast, lunch and dinner and put the cooked food in Tupperware dishware,
      Roberta would eat the food and Robin Webber would wash her dishes.

      Rachelthe facial esthetician that provided Roberta Brown with facials every day
      (7 days per week). Exhibit C, Bender Affidavit Exhibit 4, Exhibit B, Stovall Dep,
      Page 2L:18-22:20.
      (Exhibit: Pictures of Roberta Brown eating the meals that Robin Webber cooked
      every day and set up as her job working for Roberta Brown.)

      Zachaia the masseuse that Roberta Brown hired to give her   full body massages twice   a
      week.
      Anna Christina Nelson was also an employee that Roberta hired years ago to
      perform menial-tasks.
      These employees were working for Roberta Brown for years before the Plaintiff
      started to work this job.

Roberta Brown has a gregarious personality and she also sold music boxes
for over 40 years to her regular customers who would often make appointments
with Roberta Brown and stop by to shop with her.
(Exhibit: Pictures of Roberta Brown's stock of music boxes that she sold to her customers.
                                                                                  Page 15 of 115

13. Response: Obiection.

  Plaintiffs legal, binding employment contract authorized the Plaintiff to legally work,
  legally move in and legally live with her client which is essentially the permission of
  Roberta Brown the owner of the condominium to work as the contracted live-in caregiver
  safety companion employee who was employed by @ Home Healthcare Agency.
  The owner Roberta Brown assigned the Plaintiff, Grace Stovall her own private bedroom
  according to the Department of Labor laws that mandate "live-in caregivers must have
  private quarters in a homelike setting."
  (Exhibit: Federal Department of Labor Law document for employee accommodations).

   14. Response:   Objection.
      This offence was committed without Roberta Brown's permission
      and without due process involving forgery and fraud.
      Offender Jamie Bender's fraudulent opinion is irrelevant.
      Offender Jamie Bender does not have the acumen to make any determination about
      any ones capacity.
      This offence was committed without due process involving forgery and fraud.
      Offender Jamie Bender is not relevant in Plaintiffs employment at this job.
      Plaintiff refutes Offender Jamie Bender's malicious, prolific lies that have no merit.
      Offender Jamie Bender had criminal intent.
      Offender Jamie Bender and her accomplices have willfully fabricated lies
      and false allegations without proof for many years.
      Plaintiff, Grace L. Stovall is a professional, healthcare provider with credentials and
      over 10 years of experience in healthcare as a caregiver.
      This was the Plaintiffs job and she knows all aspects of her job and she is very familiar
      with her client Roberta Brown as a result of being in her client's constant company
      everyday as the resident Healthcare provider for a year that she worked for and lived
      with her client Roberta Brown.
      Offenders Amy McCarty, Damon Doucet, willfully and illegally conspired
      with offenders Tarick Loutfi and Casandra Melton willfully and illegally
      stalking the Plaintiff at her "previous" job to commit the "same" crimes
      involving corrupt Chicago Police officers involved in an "infamous"
      Chicago Police "Theft Scheme" ruse robbery scam.

      Offender Jamie Bender had criminal intent.                           Page 15 of 115
      Offender Jamie Bender acted illegally without Roberta Brown's permission.
      Offender Jamie Bender acted illegally without Roberta Browns knowledge of her
   illegal arrangements.
   Offender Jamie Bender is not relevant in the Plaintiffs employment at this job.
   Offender Jamie Bender illegally forged Roberta Brown's name to illegally recruit
   these criminals to illegally interfere with the Plaintiffs job.
   Offender Jamie Bender and illegally to usurp Roberta Brown's authority without due
   process, involving fraud.
   Offender Jamie Bender exhibited extreme jealously against the Plaintiff.
   Offender Jamie Bender's disrespectful intrusive behavior caused her to be shunned
   and ostracized by Roberta Brown.
   The fraudulent reports willfully prepared, fabricated and presented by offenders
   Jamie Bender and Offender Geoffrey Shaw have no merit and no proof and are
   based on Offender Geoffrey Shaw's fraud and deceptive practices which he is
   "infamous" for.
   Offender Geoffrey Shaw has no proof of anything he "opines" which is his
   opinion that is not factual.
   Offender Geoffrey Shaw, Amy McCarty and Offender Jamie Bender
   and their accomplices Platinum Healthcare and Midwest Care
   Management Services, Michele Henry, Benjamin Topp have a
   criminal history of conspiracy to commit Qui-Tam fraud and
   False Claim Act fraud by conspiring to willfully prepare, fabricate
   and falsify medical records and charges to defraud the United
   States government and steal government checks.
15. Response: Objection.
   Offender Geoffrey Shaw did not perform any evaluation on Roberta Brown.
   Plaintiff objects to Offender Geoffrey Shaw's fraudulent report that is based on lies
   that have no merit.
   This offence was committed without due process involving fraud.
   Offenders Geoffrey Shaw and Jamie Bender had criminal intent.
   Offender Geoffrey and committed illegal criminal trespass aggravated
   home invasion by his illegally invading the condominium with offender
   Jamie Bender who does not live in the condominium and did not have
   permission to enter the condominium.                         Page L7 of 115

   Offender Geoffrey Shaw was not relevant in the Plaintiff employment at
   this job and we do not know him.
     Offender Geoffrey Shaw have not been deposed due to the City of
     Chicago's counsels conspiracy to conceal evidence.
     Offender Geoffrey Shaw's fraudulent opine/opinion is not conclusive and has no
     merit. Offender Geoffrey Shaw has a criminal history and his reviews from his victims
     declare that his false diagnosis and false medical reports were riddled with lies and
     words that were never said"
     Exhibits: (Bad reviews on Offender Geoffrey Shaw about his "false diagnosis and false
     report riddled with lies and words that were never said an fraudulent medical reports
     contained words that were never said").
     Offender Geoffrey is a Defendant in numerous lawsuits for his deceptive practices,
     fraud and "tricking" victims to financially exploit them.
     (Exhibit: Appellate court Case # t-L7-0382 (Plaintiff) Paul Cecchini vs (Defendant)
     (Offender Sanjay Tailor is perfidiously presiding)Geoffrey Shaw and his accomplices
     (another group of criminal shysters) like offender Amy McCarty, Monahan & Cohen,
     Damon Doucet, Tarick Loutfi and others involved in this massive multiyear healthcare
     fraud scheme involving corrupt Chicago Police officers that rob their victims by
     illegally invading and ransacking without a warrant.

     Their "alleged" suspicions are lies that have no merit
   and are racist because other white employees work in the
condominium with the Plaintiff and only the Plaintiff who is non-
                       white is targeted.
              Furthermore, PIaintiff has no access to client's finances.
When Roberta Brown discovered that Offender Jamie Bender and lngrid were stealing her
money and assets from her Wells Fargo Bank accounts, she took action by circulating letters
  to protect herself and her assets from offender Jamie Bender and lngrid whose illegal
 intrusive acts of desperation caused them to be shunned by Roberta Brown as offender
         Jamie Bender and lngrid were out to get revenge against Roberta Brown.

     Offender Jamie Bender conspired with offender Geoffrey Shaw who is known for
     selling counterfeit medical reports, offender Geoffrey Shaw who has a criminal history
     of illegally selling his fabricated, fraudulent medical reports with "false diagnosis"
     on victims he has never seen and he is a defendant in numerous lawsuits for his
     perfidious, illegal, unethical, deceptive practices "tricking" people as he is described
     in this appellate court case 20 cv-- Paul Cecchini vs Defendant Geoffrey Shaw paselsor 11s
     Exhibit - (Offender Geoffrey Shaw's accomplice, offender Sanjay Tailor is presiding).
     Offender Geoffrey Shaw is known for blaming caregivers for crimes and thefts that he
   himself has committed and he operates his business as a criminal enterprise in a
   multiyear healthcare fraud scheme yielding unjust enrichment, self-dealing and
   ill-gotten gains as he illegally dispenses drugs that cause disability and death according
   to his reviews and victims of his fraud.

  The Plaintiff had worked this job for a year and i has lived with my client Roberta
  Brown as her live-in healthcare provider/safety companion which I am very familiar
  with Roberta's daily habits as a result of working one on one with this client at this job
  and combined with my professional knowledge of working for 10+ years in healthcare
  with various types of clientele qualifies me to refute Offender Geoffrey Shaw's
  fraudulent report.

   Offender Geoffrey Shaw's fabricated, fraudulent, bogus, counterfeit report that has
   "false diagnosis riddled with lies and words that were never said.".

   I know Roberta betterthat anyone because I am in her constant company every day
   and no one can supersede my professional and personal knowledge of my client
   Roberta Brown.

   No doctor, no relative no one because I live with her and they do not live with her and
   I will not allow you to lie on me nor lie on my client for your own unjust enrichment.


   Offender Geoffrey Shaw has a criminal history and is a prolific liar and his falsified
   medical reports have no merit and no proof.

    Offender Geoffrey Shaw has used his license for illegal, unethical, improper purposes.
   The evidence confirms that Offender Geoffrey Shaw has a criminal history.
16. Response: Objection.
   Offender Geoffrey Shaw did not perform any evaluation of Roberta Brown.
    Offender Geoffrey Shaw had criminal intent.
    This offence was committed involving forgery and without Roberta Brown's
    permission and without her knowledge.
    This offence was committed without due process.
17. Response: Objection.
    This offence was committed without Roberta Brown's permission.
    This offence was committed without Due process involving     fraud.  page 1e of 115

18. Response: Objection.
    This offence of criminal trespass was committed without Roberta Brown's permission.
    Offender lngrid Brown can't authorize anyone to violate building security protocol,
    trespass the security check point desk to illegally access the 7th floor of the
    condominium building to illegally invade the condominium without permission of
    Roberta Brown.
    This illegal offence was committed without due process involving fraud.
19. Response: Objection.
    Offender Jamie Bender committed forgery without Roberta Brown' permission to use
    her name.
    This illegal offence was committed without Due process involving fraud and forgery.
    Offender Jamie Bender illegally trespassed into the condominium
    without Roberta Brown's permission and without the Plaintiffs permission.
    Offender Jamie Bender is not relevant in the Plaintiff's contracted employment
    agreement at this job.
    Offender Jamie Bender did not have Roberta Brown's permission to illegally interfere
    with the Plaintiffs job and contracted employment agreements.
    Offender Jamie Bender "allegedly" filed a fraudulent order of protection declaring
    that the Plaintiff "moved into Roberta Brown's apartment and took over the bedroom
    and made Roberta sleep on a couch".
    Offender Jamie Bender's Federal Court deposition testimony confirms that she knew
    for an entire year (prior) that the Plaintiff worked and lived with Roberta Brown in
    Roberta's condominium.
    Plaintiff maintained a safe, impeccable and beautiful living environment for her client
    Roberta Brown.
    The contracted employment of the Plaintiff was appropriate and compliant with the
    highest standards, as documented on "official" @ Home Healthcare Agency progress
    notes, care plan, files and records.
    This "official" information was documented on a daily basis on progress notes
    written by the Plaintiff and also documented by Mark Ricks, the employer of @ Home
    Healthcare and his employee Gina, during "routine", in-person visits at the client
    Roberta Brown's condominiu m.
    The documented information is a matter of official @ Home Healthcare Agency
    records which can be reviewed upon request.
    Roberta Brown scheduled all of her own appointments with her customers and
    visitors in her private schedule book.
    Offender Geoffrey Shaw's fraudulent reports significantly contradicts Jamie Bender's
   Federal Court Deposition  testimony.                                    Page 20 of 115

   Where Offender Jamie Bender testified that "she visits Roberta Brown all the time."
   Exhibit: Offender Jamie Bender's Federal Court Deposition, November 22,20L9,
   File No: 2854.4.
   Which proves that there was no isolation as "alleged" in Geoffrey Shaw's false reports
   There were 3 other employees that worked for Roberta Brown and provided their
   services every day and these 3 employees had been working for Roberta for many
   years.
   Offender Geoffrey Shaw committed criminal trespass aggravated Home lnvasion
   when he physically assaulted and injured the Plaintiff at her jobsite/residence on
   April 23,20L6., When he illegally trespassed into the condominium without
   permission from Roberta Brown and without permission from the Plaintiff.
   Offender Geoffrey Shaw had criminal intent.
   Offender Geoffrey Shaw had no right to illegally trespass into the condominium.
   Offender Jamie Bender had no right to illegally trespass into the condominium.
   These offender had no right to illegally trespass into the condominium and assault
   and injure the Plaintiff.
   Roberta Brown was livid that the offenders Jamie Bender and "a strange man"
   had the audacity to invade and trespass into her condominium with this strange man
   and assault her employee, Grace.
   The male assailant that trespassed with offender Jamie Bender was later identified
   as offender Geoffrey Shaw.
   Plaintiff has no access to the client's private business affairs.
   Roberta Brown circulated this letter to protect herself from offenders Jamie Bender
   and offender lngrid Brown and their accomplices by asserting her exclusive authority
   over herself and her assets.

   Exhibit: Roberta Brown's letter declaring that only she, Roberta brown has exclusive
   authority over herself and her assets.

   Offenders Jamie Bender and Geoffrey Shaw willfully fabricated false evidence
   and they willfully declared audacious lies with disregard for the Plaintiffs safety.


   However the Plaintiff, Grace had worked lived at this job, had her own keys and
   maintained her own private bedroom for a year, with Roberta Brown's permission.
   Offender Jamie Bender testified in her Federal Court deposition that she knew that
   the plaintiff was working for Roberta Brown.
   Exhibit-------Offender Jamie Bender's Federal Deposition, November 22,20L9,
   File No:   2854.4.                                                             PagezL of 115

    Offender Jamie Bender's willful perjury and false deposition testimonies have
    significant contradictions and she has no proof of anything that she has alleged.
20. Response: Objection.
    Offender Geoffrev Shaw did not perform anv evaluation of Roberta Brown.
Offender Geoffrey Shaw is a stranger and we have never seen him before this
illegal atrocity that he incited in the condominium.
Plaintiff and her client Roberta Brown do not know offender Geoffrey Shaw.
Offenders Geoffrey Shaw illegally trespassed into the condominium without Roberta
Brown's permission and without the Plaintiffs permission.
Offenders Geoffrey Shaw and Jamie Bender had criminal intent.
No such conversations occurred.
No such events occurred.
Offender Geoffrey Shaw is not relevant in the Plaintiffs contracted employment at
this job.
Offender Geoffrey Shaw did not perform any evaluation of Roberta Brown due to
"he took off running" when Roberta Brown belligerently screamed and demanded
the offenders "get out of her condominium", when Roberta Brown saw these
offenders attacking Grace she screamed "You hit Gracie, l'm calling the security police
on you" at that point Offender Geoffrey Shaw took off running and Roberta was livid
when she screamed "Jamie Get out of her with this jealous bullshit". Offender Jamie
Bender vowed to get revenge, screaming"l'm going to get you".And then she took off
running behind offender Geoffrey Shaw.
Roberta threatened these home invaders with arrest and she called the
police/security on offender Geoffrey Shaw and Jamie Bender for breaching Security
protocol and illegally accessing the 7th floor to commit illegal force-in criminal trespass
without Roberta Brown's permission.
Roberta Brown and the Plaintiff filed formal complaints with the lmperial Towers
Condominium management office manager Peggy Budwig, Shamiran Azo, Evelyn
and Debbie about the breach in security protocol resulting in the assault and iniuries
and robbery of the employee, plaintiff.
The Admiral Security had a meeting about the security breach that allowed
the illegal trespass to the 7th floor and the condominium.
Offender Geoffrey Shaw has a criminal history of selling his fabricating fraudulent
medical records with false diagnosis for victims he has never seen.
Offender Geoffrey Shaw's fraudulent opine/opinion is not conclusive and his lies
have no merit and no proof.                                                     Page22 of 115

The evidence confirms that Offender Geoffrey Shaw's opine/opinion is not factual.
Offender Geoffrey Shaw is a Defendant in numerous lawsuits for his fraudulent,
illegal, deceptive practices, "tricking" victims to financially exploit his victims and
According to one of his victims, Offender Geoffrey Shaw's falsified medical records
"contained words that were never said".
Offender Geoffrey Shaw's fraudulent opine/opinion is illegally "For Sale" to commit
   Qui-tam Fraud and False Claims Act. Fraud.
   Offender Geoffrey Shaw's is "infamous" for selling his "fraudulent" medical reports
   for illegal and improper purposes.
   Offender Geoffrey Shaw's "alleged" credentials are questionable.
   Bad Reviews on Geoffrey Shaw reporting his "false diagnosis and false medical reports
   contained words that were never said."
   Exhibit: Appellate court lawsuit naming Offender Geoffrey Shaw as a Defendant
   in Appellate lawsuit naming Defendant Geoffrey Shaw and his accomplices.
   Exhibit: offender Geoffrey Shaw as a defendant for "tricking" a victim and other crimes
2L.      Response: Objection.
   This lllegal offense was committed without Roberta Brown's permission.
   This illegal offence was committed without due process involving fraud.
22. Response: Objection.
   This lllegaloffense was committed without Roberta Brown's permission.
   This illegal offence was committed without due process involving fraud.
23. Response: Objection.
              offense was committed without Roberta Brown's permission.
   This lllegal
   This offence was committed without due process involving fraud.
24. Response: Objection.
   This lllegal offense was committed without Roberta Brown's permission.
   This illegal offence was committed without due process involving fraud.
25. Response: Objection.
   This lllegal offense was committed without Roberta Brown's permission.
   This illegal offence was committed without due process involving fraud.
25. Response: Objection.
   lllegal offense was committed without Roberta Brown's permission.
   Offenders Platinum Healthcare was present and involved with this group of criminal
    trespassers.
    lllegal offense was committed without a warrant.                       Page24 of   tts
27. Response: Objection.
   This illegal offense was committed without Roberta Brown's permission.
   Offenders Platinum Healthcare was present with this group of "home invaders" that
   illegally breached security protocol to illegally trespass into the condominium building
   and illegally access the 7th floor with the Defendant Chicago Police officers that were
   (armed with guns) that illegally "invaded" the building and the condominium illegally
   without a warrant.
28. Response: Objection.
   This illegal offense was committed without Roberta Brown's permission.
   The "group" of offenders did not show any identification and did not show
   any order of protection to the Defendant Chicago Police officers.
   The Defendant Chicago Police officers did not ask to see any identification
   from this "group" of offenders.
   The Defendant Chicago Police officers did not ask to see any paperwork
   because the Chicago Police officers took the offenders at their word.
   The Defendant Chicago Police officers did not ask to see any order of
   protection document because the Defendant Chicago Police officers
   took the offenders at their word.
   Exhibit: D, Defendant Clark Deposition, Page 74, L8-19-2O-21-22-22-23-24.
   Page 64,   t-2.
29. Response: Objection.
   This lllegaloffence was committed without Roberta Brown's permission.
   The "group" of offenders did not show any identification and did not show
   any "alleged" order of protection to the Defendant Chicago Police officers.
   The defendant Chicago Police officers did not ask to see any identification
   of this "group" of offenders.
   The Defendant Chicago Police officers did not ask to see any paperwork
   from the "group" of offenders, because the Chicago Police officers
   took the offenders at their word.
   The Defendant Chicago Police officers did not ask to see any "alleged"
   order of protection document, because the defendant Police officers
   took the "group" of offenders at their word.
   The Defendant Chicago Police officers did not ask to see any proof of what
   the "group of offenders were telling them, because the Police officers
   took the offenders at their word.
    Exhibit: D, Defendant Clark Deposition, Page 74, L8-L9'20'21'22'23-24.
    Page 64, t-2.
30. Response: Objection.
   This lllegal offense was committed without Roberta Brown's permission.
   This Illegal offense was committed without a        warrant.  Page 25 or 115

   3l.Response: Objection.
   This illegal offence was committed without Roberta Brown's permission.
This illegal offence was committed without a warrant.
Offender Jamie Bender and this "group" of "criminals" testimonies confirm that they
willfully and illegally breached the condominium building security protocol and they
never should have made it to the 7th floor to "allegedly" knock on the condominium
door.
Plaintiff was in her private bedroom and did not hear anyone "allegedly'' knock on the
condominium door.
Offender Jamie Bender did not knock on the condominium door.
These offenders had criminal intent when they illegally trespassed into the
condominium community building unannounced, without authority and
without a warrant.
Offender Jamie Bender and her "group" of accomplices and the Defendant Chicago
Police officers had criminal intent when they breached security protocol to illegally
access the 7th floor of the condominium building when the condominium is located.
lmperial Tower Condominium Building Security Protocol is as
follows:
1. Imperial Towers Security must "announce" the presence of the person
that is downstairs in the lobby at the Security check point desk.
2. lmperia! Towers Security staff must "call" up to the residents
in the condominium and "request permission" from the
condominium occupants.
lf "denied access" by the condominium residents Security staff must inform
the person they have been "denied access" and the Security will enforce
security policy that the person must leave the building premises.
3.lf authorized by the residents, the visitor must show their identification
to Security staff, sign their same name in the security log book and the
Security staff will buzz the visitor in through the locked doors and the
expected, authorized visitor will proceed to the elevators up to the floor.
None of this Security protoco! process happened on Apri! 25,}OLG when
these offenders illegally accessed the floor and illegally accessed the
condominium.
                                                                       Page 26 of 115

None of this Security protocol process happened on April 23,2OLG when
offender Jamie Bender and her accomplice Geoffrey Shaw illegally accessed
the 7th floor assaulted and injured the Plaintiff after they willfully and
illegally breached security protocol and illegally accessed the lmperial
Towers condominium building without the owner Roberta Brown's
authorization and without the Plaintiffs authorization to enter the
condominium building.
There is no key to access this high security building.
There is no key to access the condominium floors.
This is an upscale condominium building is secured by a security staff of
numerous security personnel enforcing an elevated level of high security
due to the condominium community has celebrities and wealthy
condominium owners that reside in this historic building.
Exhibit: (Description of ImperialTowers condominium building including photos)
Exhibit: (lmperial Towers condominium building security protocol)
32.Response: Objection.
This lllegal offence was committed without Roberta Brown's permission.
This illegal offence was committed without a warrant.
These home invaders had criminal intent.
Offender Jamie Bender did not live in the condominium and she willfully conspired
with her accomplices, offenders Amy McCarty, lngrid Brown, Damon Doucet, Michele
Henry, Platinum Healthcare, Midwest Care Management Services and the Defendant
Chicago Police officers (armed with guns) to illegally "invade" and criminally trespass
into the condominium that offender Jamie Bender does not live in.
These offenders had crimina! intent to "overtake", rob and endanger the Plaintiffs
!ife. The Defendant Chicago police officers did not have a warrant to trespass into the
condominium.
The Defendant Chicago Police did not have probable cause to trespass into the
condominium.
The Defendant Chicago Police did not have permission from Roberta Brown (the
owner of the condominium) to trespass into her condominium.
The Defendant Chicago Police did not have permission from the Plaintiff to trespass
into the condominium.

                                                                         Page 27 of 115


The Plaintiff recognizes this Chicago Police theft Scheme ruse robbery scam because
due to the Chicago Police committed this same Chicago Police "theft Scheme" ruse
robbery scam at the Plaintiffs "previous" jobsite/residence in Federal Case 2016 cv
4004, Grace Stovall vs City of Chicago Police officers.
      Exhibit: Plaintiffs Federal lawsuit 2OLG cv 4004
      Attorney Gregory Kulis settled this case against the Defendant City of
      Chicago and its corrupt Chicago Police officers and now the Chicago Police
      have re- victimized the Plaintiff again by committing the exact same police
      scam to rob the Plaintiff again !
      Exhibit: B Stovall Deposition, Page 96, 18-19-20-ZL-22-23.
      Page 97,5.
      Defendant Exhibit: D, Clark Deposition, Page 7L, L5-L6-t7-18-t9-20-2t.
      Exhibit: Offender Amy McCarty lnterview, October 29,20t,9, File No: 2854.4
      Offender Amy McCarty testified that offenders Platinum Healthcare was involved,
      entered with their group and was present in the condominium.
      Exhibit: Offender Michele Henry lnterview, November 26,20L9, File No: 2854.4
      Offender Michele Henry testified that offenders Platinum Healthcare was involved,
      entered with their group and was present in the condominium.
      Exhibit: lnterrogatory, Offenders Platinum Healthcare was involved, entered with
      their group and was present in this illegal condominium home invasion involving the
      Defendant Chicago Police officers (armed with guns.)

The Defendant Chicago Police officers conspired to illegally "invade" the condominium with
the offenders Platinum Healthcare.
Exhibit: B, Stovall Deposition, Page 98,22
Page 99,   tL.
   32. These offenders illegally committed criminal aggravated trespass robbery home
   invasion by illegally trespassing into the building and the trespassing into the
   condominium without Roberta Brown's permission and without the plaintiffs permission

   33.ReSpOnSe: DiSpUtgd in part.   (Appearance is a matter of the observer's opinion)

   Plaintiff was in her private bedroom and Roberta Brown was sitting on her sofa bed
   couch in the front room by her cable T.V, as we had just returned to the condominium
   from "socializing" in the building lobby garden which is Roberta's favorite daily activity
   due to her fun loving, gregarious personality.
   Exhibit: B Stovall Deposition, Page 95, 18-19-20-21'22'23.
   Page 97,5.

   34.Response: Objectio n.
   This illegal offence was committed without Roberta Brown's permission.
   This tllegal offence was committed without a warrant.
                                                                                         Page 28 of 115
35.This illegal offence was committed without a warrant.
Defendant Chicago Police illegally abducted the plaintiff and forcibly removed her from
the condominium and hit the Plaintiff in her back pushing her out of the condominium.
Exhibit: B, Stovall Deposition, Page tO7, t4-15-15-17-18-t9-20-ZL.
Page 108, 18-19-20.
Page LL7, L3-t4- 15- 16- 17 -18-t9-20-2L-22.
Page Llg,2O-Z1-22.
Page 123,5-6-7-8-9-10
Exhibit: Offender Amy McCarty's lnterview, October 29,20t9, File No: 2854.4 Offender
Amy McCarty testified that the Defendant Chicago Police officers escorted the Plaintiff
downstairs.
Offender Amy McCarty testified that the Defendant "Chicago Police officers make sure
that things went smoothly" to remove the Plaintiff from her job so that their accomplices
Platinum Healthcare could step in.
Exhibit: Offender Damon Doucet lnterview, November 19, 2019, File No: 2854.4
Offender Damon Doucet testified that he threatened to handcuff the Plaintiff to force her
to obey the Chicago Police officer's commands.
Exhibit: Offender Jamie Bender lnterview, October 29, File No: 2854.4
Offender Jamie Bender testified that the Defendant Chicago Police officers told the
Plaintiff she has to leave the condominium premises and the police told the Plaintiff that
they have a right to be there.
Offender Jamie Bender testified that the Plaintiff told the Chicago Police officers
they don't have a right to be there in the condominium.



36.Response: Objectio n.
This illegal false imprisonment of the Plaintiff was committed by the Defendant Chicago
police officers that illegally trespassed and invaded into the condominium without a
warrant as they illegally escorted the group of civilian strangers that had criminal intent.
This illegal offence was committed without a warrant.
Plaintiff did identify the Defendant Chicago Police officers and their badge numbers
and names and the Chicago police officers also identified the Plaintiff as the resident
in the condominium that they illegally trespassed into and invaded without a warrant
and without probable cause.
All three of the Defendant Chicago Police officers were present in the condominium,
working together and illegally false imprisoned, illegally restrained and illegally abducted
the Plaintiff from her jobsite/residence.
All three Defendant Chicago Police officers illegally arrested and forced removed the
Plaintiff from the condominium against her will.                          Page29 of 115
These Defendant Chicago Police officers are using the
"Blue code of Silence to illegally cover-up for each other.
Exhibit: Definition of the "infamous" Chicago Police "BIue Code of Silence" that the
Police use to cover-up crimes that the Chicago Police commit against their victims.

3T.Response: Objection.
Defendant Chicago Police officers also illegally false imprisoned and abducted the
PIaintiff from her jobsite/residence.
Exhibit B: Stovall Deposition, Page LzO, t-2-3-4-5-6-7-8-9-10-11-L2-t3-t4-15-16-17-18-19-
20-2L-22-23-24.
Page Ll8, L-2.
Page Llg, L-2-3-4-5-6-7-8-9-10-11-L2-L3-L4-L5-16-17-18-19-20-2L-22-23-24.
Page Ll7 , L-2-3-4-5-6-7 -8-9-10-11= L2-L3-L4-L5-16-L7 -18-19-20-21-22-23-24.
Page, L23, 5-6-l-8-9-10

33.Response : Objection.
The Chicago Police officers enforced the Blue code of silence.

39.Response: Objection.
This illegal offences was committed without Roberta Brown's permission.
This illegal offence was committed without a warrant.
Plaintiff was threatened with handcuff threats and intimidation abuse to force her to
obey Chicago Police commands while they false imprisoned the Plaintiff.
(Exhibit B, Stovall Deposition Page 107
Exhibit: Damon Doucet Deposition, November 19, 20t9, File No: 2854.4
Damon Doucet testified that he threatened the Plaintiff with handcuffing threats
to force her to obey the Chicago Police commands.



   40. Response: Objection.
   The evidence confirms that the Plaintiff requested expert witnesses.
   Plaintiff filed over 71 names and information of witnesses that have discoverable
   information and knowledge about the Plaintiffs Federal lawsuit,
   however, none of the Plaintiffs witnesses were contacted by counsels.

   (Exhibit: G, Plaintiffs Mandatory lnitial Discovery Disclosures).        Page 30 of 115
41. Response: O bjection.
Plaintiff filed names and information of over 71 names and information of witnesses
that have discoverable information and knowledge of the Plaintiffs Federal lawsuit
however, none of the Plaintiffs witnesses were contacted by counsels.
(Exhibit: G, Plaintiffs Mandatory lnitial Discovery Disclosures.)




                                                                         Page 31 of 115




         Additiona! Backeround lnformation Exhibits
The evidence proves that Defendant Chicago Police officer Brian McMahon
knowingly and willfully made false materia! statements while under oath,
in the Federal Court deposition.

The evidence and his Federal Court deposition testimony proves and confirms
that Defendant Chicago Police Officer Brian McMahon willfully falsified police
reports with lies and exaggerations that have no merit.

I Grace L. Stovall,Plaintiff, state under oath, that I refute Defendant Chicago
Police officer Brian McMahon's falsified police reports # HZ 246484

The evidence and his Federal court deposition testimony proves that Defendant
Brian McMahon willfully implemented self-dealing and unjust enrichment.

Iwas present and personally witnessed Defendant Chicago Police Officer Brian
McMahon willfully commit perjury repeatedly in the Federal Court deposition.
The evidence proves that Defendant Chicago Police Officer Brian McMahon willfully aided
and abetted the offenders while he eluded me and gave me the "runaround" to undermine
my victimization.

The evidence proves that Defendant Chicago Police officer Brian McMahon, Badge # 2L392
implemented a "code of silence" to deny me police services.

Detective Brian McMahon refused to investigate, charge and arrest the offenders and he
illegally "tagged" the assault and battery, robbery case as non-criminal and he secretly and
illegally closed the assault and battery, stalking, criminal aggravated trespass home invasion,
robbery, looting and hate crime case, without informing me, an injured victim.

The evidence proves that Defendant Detective Brian McMahon refused to Iocate
my personal property, clothing, cash, valuables and evidentiary evidence that
were stolen from me and looted from my jobsite/residence.
The evidence proves that Defendant Brian McMahon willfully "acted under the color of law"
and conspired to willfully conceal evidentiary evidence to "pervert the course of justice".

The evidence proves that Defendant Chicago Police Officer Brian McMahon willfully refused
to interview me and he deliberately eluded me, an employee and injured victim. Page 32 of 115
The evidence proves that Defendant Chicago Police Officer Brian McMahon's federal court
deposition testimony is significantly inconsistent with his falsified police reports and he has
stated a multitude of discrepancies, proving he has willfully and knowingly lied and willfully
committed perjury, which proves his mens rea (guilty mind).
I personally witnessed Defendant Brian McMahon     willfully, knowingly and repeatedly !ie,
while he was under oath, in the federal court deposition.
The evidence and his federal court deposition testimony proves that Defendant Chicago
Police Officer Brian McMahon willfully committed perjury repeatedly when he testified that
he could not find me and he alleged bogus dates in his falsified reports, that have no merit.
The evidence proves that the police reports written by Defendant Chicago Police Officer
Brian McMahon were intentionally compromised, impeded and undermined by Defendant
Chicago Police Officer Brian McMahon.

The evidence proves that Defendant Chicago police officer Brian McMahon falsified his
police reports with bogus information, bogus interviews and lies about the Aggrieved
Plaintiff, that are without merit.

The evidence proves that corrupt Chicago Police officers and their accomplices have stalked
me at my previous jobs, committing hate crimes, using these same participants (corrupt
Chicago Police Officers armed with guns) and the same methods of hate crime, criminal
aggravated trespass, home Invasion, robberies, lootings using illegal restraint arrests and
excessive force "hijacking" tactics and illegal lock-out and illegal evictions committed by
corrupt Chicago Police officers to force remove me from my places of employment
jobsites/residences which gives them access to rob and loot my substantial personal
property, valuables, cash, and evidentiary evidence.

I also discoveredlater that Defendant Detective Brian McMahon had
fraudulently "tagged" the case as "non-crimina!" and he secretly closed the case
without notifying me, an injured employee and victim, leaving me robbed and
injured with numerous accruing medical bills, abandoned and disserviced.
The evidence proves that Defendant Detective Brian McMahon willfully acted
"under the color of law" as a result of his "perverting the course of justice"
to implement the "code of silence".
The evidence proves that Defendant Chicago Police Officer Brian McMahon
conspired with his accomplices to use his position as a Chicago Police Officer
Detective to "frame" the aggrieved plaintiff for "fake crimes" with his falsified
police reports that have no      merit.                                     Page 33 of 115


Defendant Brian McMahon has willfully conspired to testify to false misleading,
fabricated information, that is without merit which proves his intent to deceive
the United States Federal District Court tribunal.
The evidence proves that Defendant Chicago Police officer Brian McMahon's
malfeasance and his deliberate liable, slander and character assassination
witness tampering, defamation of character, has caused loss of income,
loss of property, loss of future earnings, loss of lifestyle, willful reputation harm,
loss of my professional career, willfu! illegal tortious interference in my private
contracted employment agreement arrangements in violation of numerous
employment laws and a multitude of permanent irreparable damages that are
supported by this complaint.
The evidence confirms that Defendant Detective Brian McMahon's
falsified "police" report # H2246484 contains "lies" that have no merit
and these "lies" continue to cause permanent irreparable, insurmountable
damages and irreparable injuries, to date, due to their fraudulent existence.

Defendant Chicago Police Officer Brian McMahon's willful conduct caused
irreparable damages and injuries inflicting harms that no monetary
compensation can cure, nor put conditions back the way they were.
! am demanding            that Defendant Chicago Police officer Brian McMahon recant
his deliberately falsified police report # H2246484 and all of his falsified reports
against injured employee, Aggrieved Plaintiff, Grace L. Stovall

I am requestingof this Honorable court to impose mandatory police sentencing
against Defendant Chicago Police Officer Detective Brian McMahon.

Further Affiant Sayeth:

Respectfully submitted,
By Grace L. Stovall, Aggrieved Plaintiff




                                                                          Page 34 of 115




To date, my personal property, clothing, valuables, cash and evidentiary
evidence that were stolen from me by corrupt Chicago Police officers and
their accomplices that illegally ransacked and looted substantial, valuable,
personal possessions from my jobsite/residence, have not been returned to me
and I am demanding that the Defendants, Chicago Police Officers and their
accomplices effectuate their jobs as public servants, under oath to expedite the
return of everything that they stole from me.
The evidence proves that all of these crimes and offenders are connected,
related and associated involving corrupt City of Chicago Police Officers that are
involved in a series of "Theft Schemes" committed by numerous
corrupt Chicago Police Officers.
Exhibit: (newspaper articles headlining Chicago Police "Theft Scheme" operating
in lllinois confirms that corrupt Chicago Police Officers illegally ransack an pilfer
personal property and cash during illegal home invasion searches and they share
the proceeds with their informants and accomplices.




                                                                      Page 35 of 115




The evidence proves that the Defendant City of Chicago Police Officers used this
"same Iie" that an "alleged employer" was on their phone, allegedly discussing
my private, confidential employee information with them on their cell phones.
This lie has no merit.

The evidence proves that these Offenders are using this "same lie" in this case
also, confirms that this is an obvious "scam" that is connected to the previous
criminal aggravated trespass robbery, home invasion, tooting spree, hate crime,
committed by corrupt Chicago Police officers that illegally arrested me, illegally
indecent exposed me, robbed me and illegally ransacked and looted my private,
personal property, valuables, cash and evidentiary evidence at my previous
jobsite/residence on April L4, 20L5.

(See   Exhibit Photo of private doors illegally busted down with a battering      ram
by corrupt Chicago Police Officers, at the Aggrieved Plaintiff, Grace Stovall's
previous jobsite/residence on April L4,2OL5.

The evidence proves that corrupt Chicago Police Officer Pauline Heard
Badge # L9787, wrote a ransom note demanding the Aggrieved PIaintiff, pay the
Chicago Police Officers at 51't police station a "cash money ransom" to get her
personal property back that the corrupt Chicago police officers stole from her
when they committed the previous illegal criminal aggravated trespass, robbery
home invasion, illegal arrest, illegal eviction, illegal lockout and looting spree at
her previous jobsite/residence on April L4,2OL5.

The evidence proves that the City of Chicago's inaction supports this
criminal activity from its corrupt City of Chicago Police officers
and their accomplices involved in this Chicago Police "theft scheme".




                                                                       Page 36 of 115

1.The evidence proves that the Defendant City of Chicago has unlawfully and
willfully refused to prosecute these Defendants corrupt Chicago Police Officers
and their accomplices, for the multitude of "hate crimes" of stalking, criminal
aggravated trespass, robbery residential home invasions, ransacking, a looting in
a series of federal criminal offences that these repeat offenders have committed
against employee, aggrieved plaintiff, Grace L. Stovall, at her jobsites/residences.

2. The evidence proves   that the City of Chicago's inaction supports this
illegal Chicago police "theft scheme" and its criminal activities from its
corrupt Chicago Police officers and their accomplices.
3. The evidence confirms that the Defendant City of Chicago has
conspired with the offenders to implement liable, slander, defamation
of character, without merit.
4. The evidence proves and confirms that the Defendant City of Chicago
has illegally denied me equal protection of the laws.

5. The evidence proves that the Defendant City of Chicago has illegally
denied me victim assistance, during a worldwide pandemic.
6. The evidence proves that the Defendant City of Chicago has illegally
denied me services, during a worldwide pandemic.
7. The evidence proves that the Defendant City of Chicago has maliciously
compounded my victimization by its inaction, illegally denying me resources and
illegally denying me services during a worldwide pandemic.
8. The evidence proves that the City of Chicago has impeded, compromised and
undermined this case with frivolous, vexatious motions to illegally, willfully and
maliciously implement oppression, causing the Aggrieved Plaintiff,
Grace L. Stovall, to suffer and exist in poverty, indigence and homelessness,
without resources and unable to provide basic needs,
during a worldwide pandemic.
Further Affiant Sayeth:
Grace L. Stovall, Aggrieved Plaintiff                                 Page 37 of 115



The evidence proves that the City of Chicago has refused to initiate the return of
my personal property, clothing, shoes, valuables, cash and evidentiary evidence
that was stolen, ransacked and looted by corrupt City of Chicago Police officers
and their accomplices, in both robbery cases, committed on April L4,2OL5 and
again on April 25,20L6.


The evidence proves that all of these crimes and offenders are connected,
related and associated with corrupt City of Chicago Police officers involved in a
"Theft Scheme" operating in Chicago, lllinois that illegally ransacks and pilfers
personal property and cash during illegal residentia! home invasion searches and
they share the proceeds with their informants and accomplices. Exhibit page 31
newspaper articles about the Chicago Police criminal racketeering 'Theft Scheme"

The evidence confirms that when I reported these hate crimes to the
proper authorities seeking victim assistance, the Defendant City of Chicago
discriminated against me and illegally and repeatedly denied me services
that they advertise for crime victims and residents of the City of Chicago, lllinois.
The evidence proves and confirms that the Defendant City of Chicago et. al.
has illegally, repeatedly and deliberately denied me equal protection of the laws.
Further Affia nt Sayeth   :




Grace L. Stovall, employee, injured victim and Aggrieved Plaintiff




                                                                     luly 7,2O2O




                                                                         Page 38   of 115




                              United States District Court
                                Grace Stoval! vs Amy McCarty
                                         2Ot7 cv 4762
Grace L. Stovall's Affidavit that offenders Amy McCarty, lngrid Brown, Peggy Budwig and
Shamiran Azo conspired to concealthe two incident reports that are evidentiary evidence in
this federal court case.

                 state under oath, that I was present with my client in the lmperial Towers
I Grace L. Stovall,
management office on the morning of April 25,20t6 and my client, Ms. Roberta Brown and
I personally submitted formal incident reports to the lmperialTowers building manager,
Peggy Budwig and her assistant Shamiran Azo, Debbie and Evelyn.

The incident reports detailed the criminal breach of security protocol that allowed
trespassers to commit criminal aggravated trespass, assault and battery, robbery and
residential home invasions committed in my jobsite/residence, condominium#724.

The Offenders that illegally committed criminal aggravated trespasses/home invasion,
assault and battery, and robbery, physically attacked me causing serious injuries to my
person, some of a permanent nature, stole all of my substantial personal property,
valuables, cash, tangible work, files and evidentiary evidence from condominium#724.

Roberta Brown (key witness to the attack) and I both reprimanded Peggy Budwig and
Shamiran Azo for the breach in security protocol and the failure to respond to the
emergency calls for help and the failure to apprehend the trespassers that criminally
trespassed and assaulted me on April 23,zOtG while lworked as a professional live-in
caregiver/safety companion, essential worker to the owner of the condominium # 724

The evidence proves that the lmperial Towers Condominiums are a trap.

The evidence proves that all of these hate crimes and offenders are connected, related and
associated in a Criminal Racketeering "Theft Scheme" that is infamous for operating in
Chicago, lllinois involving corrupt City of Chicago Police officers that conspire with building
security to pilfer personal property, cash and valuables during illegal robbery home invasion
searches, illegal ransacking, pilfering, illegal looting, illegal arrests without a warrant and
without due process to subdue, rob, and loot the occupants in the condominium dwelling,
iobsite/residence, and then these Offenders share the proceeds with their informants and
accomplices.
                                                                                   Page 39 of 115




The evidence confirms that offender Damon Doucet stalked the plaintiff at her previous
iobsite/residence when he implemented the same "theft scheme, witness tampering and
illegal tortious employment interference with his accomplices (corrupt Chicago Police
officers, armed with guns) and offender Tarick Loutfi, proving that offender Damon Doucet
willfully committed perjury when he lied and falsely declared in the Federal Court deposition
interview that he did not know of the Aggrieved Plaintiff before this.
These offenders had criminal intent.

I Grace L. Stovall, state under oaththat during my employment as the professional live-in
caregiver/safety companion, essential worker to my clientele, I have been assaulted and
overtaken and robbed by numerous corrupt Chicago Police Officers that are emboldened by
a "code of silence" within the Chicago Police Department that allows these corrupt Chicago
Police Officers to remain on the Chicago Police force despite their troubled history of police
corruption and police misconduct.
This is the 4th time that corrupt Chicago Police Officers have illegally interfered with my
employment by their criminally trespassing into my worksites/residences to target me and
commit hate crimes, illegally false arrest me repeatedly while they rob my jobsite/residence
of my substantial personal property, assets, valuables, cash and evidentiary evidence.
I reported this series of crimes   to lnternal Affairs, to no avail.
I reported this series of crimes to C.O.P.A., to no avail.

I reported the "hate crimes" committed against me to the City of Chicago Hate Crime Unit,
to no avail.

The evidence proves that City of Chicago Hate Crime Unit is affiliated with the
Defendant Chicago Police Department.

The evidence proves that the Defendant City of Chicago supported and
encouraged these offenders to feel "untouchable" and the Defendant
City of Chicago's inaction towards these offenders proved to them that
the rule of Iaw does not apply to them.


The evidence proves that all of these crimes and offenders are related,
connected and associated in crimina! RICO racketeering "theft scheme
hate crimes involving corrupt Chicago Police officers pilfering personal
property and cash during illegal home invasion searches and they
share the proceeds with their informants and accomplices. Exhibitpage40or115
Picture of employee, Aggrieved Plaintiff, Grace L. Stovall's private doors illegally busted
down by corrupt Chicago Police Officers with battering rams at her previous
jobsite/residence in a series of Criminal Aggravated Trespass Robbery/Residential Home
Invasion, ransacking, looting Sprees and lndecent Exposure Crimes implemented by
corrupt Chicago Police Officers on April 14,20L5.
Note: The evidence proves that corrupt Chicago Police Officer Jacob ElDinger Badge # 10865,
illegally changed the date of this crime in the official police records as he illegally deleted
evidence from the official police records by illegally tampering with official police records
to conceal the "theft scheme" hate crimes, Crimina! aggravated trespass, robbery,
residential home invasion, looting sprees, illegal arrests, illegal lock-out and illegal eviction
that the corrupt Chicago Police Officers at 51't Wentworth Police Station committed without
a warrant, without due process on April L4,?.OLS and again on April 28,20t5.
The evidence proves that these crimes were committed by the following corrupt Chicago Police officers:
Chicago Police Officer- John Slowinski Badge # 1951 , Chicago Police Officer- Peter Delgado Badge # 10509
Chicago Police Officer- LaMonica Lewis Badge # 3601, Chicago Police Officer- Pauline Heard Badge #       t9787,
Chicago Police Officer- Troy Williams Badge # 2670, Chicago Police Officer- Aurimas Janusonis Badge # 15290
Chicago Police Officer- Hosea Word Badge # 2031 , Chicago Police Officer- Kelly McBride Badge #
Chicago Police Officer-Judith Murphy Badge # 18690 and their accomplices and Chicago police officers TBA
The evidence proves that corrupt Chicago Police Officer Pauline Heard wrote a ransom note demanding that
the Aggrieved Plaintiff, pay the Chicago Police Officers a "cash money" ransom to return the personal
property that the Chicago Police Officers stole from her on April 14, 2015.
The evidence proves that corrupt Chicago Police officer Pauline Heard wrote numerous "false police reports
for "fake crimes" and her falsified police reports have no merit.




                                                                                     Exhibit page 41 of 115




The evidence proves that offender Amy McCarty willfully and knowingly
made false material statements in the Federal Court deposition.
The evidence and her Federal Court deposition testimony proves that offender
Amy McCarty willfully testified to lies and exaggerations that have no merit.

! Grace L. Stovatt   state under oath, that I   fefute   Offender Amy McCarty's
false testimony and fabricated lies declared in her Federal Court deposition.

The evidence proves the Offender Amy McCarty's Federal Court deposition
testimony significantly contradicts her accomplice's testimony, and she willfully
declared a multitude of discrepancies, proving beyond a reasonable doubt that
Offender Amy McCarty has willfully and knowingly committed perjury in this
Federal court deposition interview proceeding which proves her mens rea
(guilty mind).

Offender Amy McCarty had criminal intent.
Offender Amy McCarty did not have Roberta Brown's permission to illegally
trespass into her condominium, residence.
Offender Amy McCarty did not have the Plaintiff's permission to
illegally trespass into her residencefiobsite, the condominium.
Offender Amy McCarty willfully declared audacious lies about the
Plaintiff with disregard for the Plaintiff's safety.
Offender Amy McCarty had victimized and robbed the Plaintiff before.
Offender Amy McCarty conspired with Tarick Loutfi and Damon Doucet
to victimize the Plaintiff at her "previous" job using these same illegal
"hijacking" tactics involving corrupt Chicago Police Officers (armed with
guns) "to make sure things go smoothly" as she declared in her Federal
Court deposition testimony, Exhibit: Offender Amy McCarty Federal
Court deposition, 2OL9, File No: 2 .4.4


                                                                     Exhibit page 42 of 115


Offender Amy McCarty's false testimony in the Federa! Court deposition
confirms that she has conspired to willfully and knowingly testify to
false misleading information with intent to deceive                        the United States
Federal Court tribunal.
The evidence proves and confirms that Offender Amy McCarty's false federal
court deposition testimony has no merit and her deliberate false deposition
testimony also contradicts my official employer's statement dated 7-24-L9.
I   was paid to work and provide the same schedule of services at this job.

The evidence proves that there was no interruption in my schedule of services
at this job.
The evidence proves that there was no notification to me nor my client of any
interruption in my schedule of services at this job.
The evidence proves that Offender Amy McCarty acted willfully and illegally as
she was never involved in my contracted employment agreement arrangement
at this job, therefore she was not privy to any of my private confidential
employment information the evidence proves that her illegal tortious
interference is in violation of numerous employment labor laws.
Offender Amy McCarty's testimony in the federal court deposition proves that
she has willfully testified to false misleading information with intent to deceive
the United States District Federal Court tribunal.
The evidence proves that Offender Amy McCarty's            willful perjury and deceptive false federal
court testimony overwhelmingly contradicts the testimony of the other offenders, (her
accomplices) which is indicative of the fact that Offender Amy McCarty's testimony is
"trumped-up" stories based on her fabricated lies that have no merit.
Offender Amy McCarty's false testimony about an "alleged employer" on her phone
discussing my private confidential employment information with her and the corrupt
Chicago Police officers is another one of their "trumped-up" lies that has no merit.

The evidence confirms that offender Amy McCarty is a perfidious, jealous, deceitful criminal.

    The evidence confirms that Offender Amy McCarty conspired to illegally exert financial and
     political influence to commit these Federal crimes involving the Defendant Chicago Police.
                                       Exhibit   Page 43   of 115
I recognized this "hate crime "theft scheme" scam because the corrupt
City of Chicago Police robbed me and looted my valuables using this
exact same "scam" at my previous iobsite/residence on Apri! L4,20L5.
The evidence proves that offender Amy McCarty is skilled in deception,
manipulation and convolution, self-dealing and unjust enrichment.
The evidence proves that offender Amy McCarty is skilled in illegally testifying to lies
(allegedly) on behalf of other people, that are not present and without their knowledge, and
her prolific lies have no proof of anything that she has testified to including her willful
perjury about fictitious people, without names, that were never mentioned nor documented
in discovery.

The evidence confirms that offender Amy McCarty has perfidiously changed her deceptive
lies regarding private, confidential, restricted, protected employee status and employment
information that she is not privy to and that is none of her business.
The evidence confirms that offender Amy McCarty initially declared deliberate fabricated,
audacious lies "alleging" a "fictitious termination" that has no merit.

The evidence confirms that official Government documented payroll records confirm that
employee, aggrieved Plaintiff, Grace L. Stovall was not terminated and she worked for her
officia!" employer @ Home Healthcare at this job and she was paid employee payroll checks
with all of the required Government tax and pre tax deductions.
The evidence proves that Offender Amy McCarty knowingly and willfully made false material
statements in this Federal court deposition proceeding about the October L,ZOLG incident
that she perpetrated at my jobsite/residence.
The evidence proves that Offender Amy McCarty's prolific lies significantly contradict the
pof ice   report # HZ 456788.

Offender Amy McCarty's prolific lies state a multitude of discrepancies that contradict the
Police report RD #HZ 456788 dated October t,2OL6.

The evidence proves that this falsified police report was prepared by her accomplices,
Defendant Chicago Police Officers Krzysztof Gmedziejko Badge # 18696 and
Defendant Chicago Police Officer Robert Murphy Badge # 3786

Me and witnesses called the police on Offender Amy McCarty when the offenders
"ambushed" me and she physically attacked me and iniured me.
                                                                               Page 44   of 115
When the Defendant Chicago Police officers arrived I showed the police the tangible court
order instructing me to identify and move my personal property and I requested that
Defendant Chicago Police Officer Krzysztof Gmedziejko and Defendant Chicago Police Officer
Robert Murphy give me a police report and I requested that these Chicago Police Officers
arrest Offender Amy McCarty for physically attacking me an injuring me in the presence of
my hired movers and witnesses, as Offender Amy McCarty willfully defied the court order
instructing me to identify my personal property and move it on October 1, 20L6 at 9:00 a.m.

Defendant Chicago Police officer Krzysztof Gmedziejko and Defendant Chicago Police officer
Robert Murphy displayed racists attitudes and they refused to do their jobs, they refused to
assess the situation and as a result of their inaction, prejudice, bias and disrespect towards
me, (an injured victim) they willfully denied me service and they willfully denied me a police
report and they willfully refused to arrest the Offender Amy McCarty for physically attacking
me and injuring me at my workplace/residence on October 1, 2015.

The evidence proves that the Defendant, Chicago Police Officer Krzysztof Gmedziejko
and Defendant Chicago Police Officer Robert Murphy willfully "falsified" the police report as
a result of their conspiracy with Offender Amy McCarty to falsely add her name as a victim
on the police report to "help her out" as they called it.

Me and my hired movers and the witnesses overheard theses corrupt Chicago police
officer's negotiating inappropriate bribery discussions with the offenders.

"l was the only victim" in this incident and these corrupt Chicago Police officers Krzysztof
Gmedziejko and Robert Murphy willfully conspired to falsely document the contrary,
with racial epithets, to "tag" the falsified police report and undermine my victimization
while they conspired to willfully deny me victim assistance and they conspired to willfully
deny me police services and they told me that "they are not giving me a police report".

The evidence proves that the police reports written by Defendant Chicago Police
officer Krzysztof Gmedziejko and Defendant Chicago Police officer Robert Murphy
were compromised, undermined, and impeded by these corrupt Chicago Police
officers.
Defendants Chicago Police Officer Krzysztof Gmedziejko and Robert Murphy
willfully and illegally "evicted" the aggrieved plaintiff, from the lmperial Towers
Condominium building, without authority.


                                                                             Page 45 of 115
Defendants Chicago Police officer Krzysztof Gmedziejko and Defendant Chicago Police officer
Robert Murphy informed the aggrieved plaintiff that she is "permanently banned" from the
ImperialTower Condominium building and they ordered police commands to the lmperial
Towers Condominium building security staff to "permanently ban" the aggrieved plaintiff
from the lmperialTowers Condominiums building as they issued police commands to the
building security staff to call the police to arrest the aggrieved plaintiff, if she returns to the
building.

This illega! ban from the building is without due process, without authority and
without merit.
The evidence proves that Defendant Chicago Police officer Krzysztof Gmedziejko and
Defendant Chicago Police officer Robert Murphy conspired to willfully and knowingly
cause another illegal arrest of the aggrieved Plaintiff, who works and resides at this building.

The evidence proves that Defendant Chicago Police officer Krzysztof Gmedziejko and
Defendant Chicago Police officer Robert Murphy conspired together to violate Plaintiffs
Constitutional and Civil rights.

The evidence proves that Defendant Chicago Police officer Krzysztof Gmedzieiko and
Defendant Chicago Police officer Robert Murphy failed to intervene to protect plaintiff from
violation of plaintiffs Civil rights by one or more of the Defendants.

Defendants Chicago Police Officer Krzysztof Gmedziejko and Defendant Chicago
Police Officer Robert Murphy acted knowingly, intentionally and willfully.
Aggrieved Plaintiff also claims violations of rights that are protected by the laws of lllinois,
such as false imprisonment, consp:racy, loss of property, loss of lifestyle,
loss of income, emotional harm, pain and suffering, loss of future earnings,
loss of enjoyment of life. property damage, failure to act, endangerment of an
injured employee, conspiracy to tamper, conceal, alter, destroy, steal,
evidentiary evidence, obstruction of justice, conspiracy to willfully defy
official court order, liable, slander, defamation of character, illegal eviction,
conspiracy to willfully and illegally ban plaintiff from the building, being her
jobsite/residence, without authority, aiding and abetting offenders, disorderly
conduct, illegally trespassing into the condominium without a warrant.
willfully falsified police reports naming the perpetrator of a crime as a victim
to illegally acquire bribes for unjust enrichment and any other claims that are
supported by this complaint.                                                   Page 46   of 115
                                 False lmprisonment
False imprisonment occurs when a person intentionally restricts another person's
movement within any area without legal authority, justification or consent.
Actual physical restraint is not necessary for false imprisonment to occur.

The evidence proves that Defendant Chicago Police Officer Krzysztof Gmedziejko
and Defendant Chicago Robert Murphy are "emboldened by a "code of silence".
The evidence police report proves that Offender Amy McCarty has repeatedly
lied and she keeps changed her story about the incident that she perpetrated
when she "blindsided" me, physically attacked and injured me, an employee
on October 1, 20L5.
The evidence proves that Offender Amy McCarty knowingly and willfully made
false material statements in this Federal court deposition when she testified
about the October 1, 2OLG incident when she and her accomplices "ambushed"
me and physically attacked me, an employee and resident at my
jobsite/residence.

The evidence proves that Offender Amy McCarty's lies have no merit and they
contradict the Iies that she declared on the police report HZ# 456788 at the
scene of the crime that she committed on October 1, 2OL5.

                 employ€€, Aggrieved Plaintiff, state under oath, and the
I Grace L. Stovall,
evidence confirms that the Offender Amy McCarty "physically blocked the
doorway" and "she came at me in an absolute rage", physically attacking me in
the presence of my hired movers and witnesses, and she pushed me backwards
and slammed the door on my foot, while I was injured from the previous attack,
I was weak, under doctor's care and wearing a visible neck brace and back brace.
I was in chronic pain and unable to protect myself from Amy McCarty's tirade
used to prevent me from getting my personal property and assets.




                                                                              Page 47   of 115
The evidence confirms that offender Amy McCarty's lies contradict the testimony
of the other offenders (her accomplices).
The evidence confirms that offender Amy McCarty's lies have no merit.


Exhibit: lngrid Brown's handwritten letter that contradicts Offender Amy McCarty's
willfully fabricated reports and willfully falsified Federal deposition testimony and her
willfully falsified testimony in numerous venues.
Exhibit: Roberta Brown's letter declaring her independence and authority over herself and
her assets that she circulated to protect herself from Jamie Bender and Ingrid.

This evidence confirms that Offender Amy McCarty is a dangerous prolific liar, robber and
home invader that illegally and fraudulently declared audacious lies about the Plaintiff and
her work with disregard for the Plaintiffs safety and professional reputation that offender
Amy McCarty maliciously destroyed to unethically and illegally rob the Plaintiff of her
Iivelihood to stop the Plaintiff from working in her profession.




                                                                              Page 48   of 115
The evidence proves that Offender Jamie Bender knowingly and willfully made
false material statements in the Federal court deposition.

Offender Jamie Bender's testimony in the Federal Court deposition confirms that
she willfully testified to false misleading information with intent to deceive the
United States District Federal Court tribunal.

                state under oath that I refute Offender Jamie Bender's false
I Grace L. Stovall
testimony and fabricated lies declared in the Federal Court deposition.
The evidence proves and confirms that Offender Jamie Bender knowingly and
willfully made false material statements in this Federal court deposition
and her deliberately fabricated Iies, have no merit.

The evidence proves that Offender Jamie Bender's intentional false testimony
contradicts the testimony of the other Offender's (her accomplices).
Offender Jamie Bender willfully and illegally interfered with my contracted employment
agreement, causing illegal tortious interference and illegal breach of contract that was
secured by an existing contracted agreement for services specifically ordered by my
clientele.

Offender Jamie Bender exhibited extreme jealously against the Plaintiff.
Offender Jamie Bender's disrespectful intrusive behavior caused her to be
shunned and ostracized by Roberta Brown.

The evidence proves that offender Jamie Bender and her accomplices and
corrupt Chicago Police officers illegally committed criminal aggravated trespass
robbery home invasion into the condominium and illegally invaded, ransacked
and looted my private bedroom at my worksite/residence and ransacked my
private bedroom closet and stole my private property, designer clothing, cash,
valuables and evidentiary evidence.
                       offender Jamie Bender is a desperate, deceitful, criminal
The evidence proves that
that is extremely jealous and skilled in self-dealing and unjust enrichment and
ill-gotten gains.


                                                                             Page 49 of 115
Offender Jamie Bender had criminal intent.
Offender Jamie Bender did not have Roberta Brown's permission to illegally
trespass into the condominium.

Offender Jamie Bender did not have the Plaintiffs permission to illegally trespass
into the condominium.
Offender Jamie Bender did not have Roberta Brown's permission to illegally
trespass into the condominium with a strange man that we do not know
and as a result he turned violent and assaulted Roberta's live-caregiver.

The evidence proves that offender Jamie Bender conspired with her accomplices
and corrupt Chicago Police Officers to commit evidence tampering by stealing,
removing, concealing, tampering, altering and destroying evidentiary evidence.
The evidence proves that Offender Jamie Bender acted illegally as she was never involved in
my contracted employment agreement arrangement at this job, therefore, she was not privy
to any of my confidential, private, restricted, protected employment information and her
willful, illegal, tortious interference is in violation of numerous employment labor laws.

Offender Jamie Bender declared audacious lies about the Plaintiff with disregard
for the Plaintiffs safety.




                                                                          Page 50 of 115
The evidence proves that offender Damon Doucet knowingly and willfully made
false material statements in his Federal court deposition.
The evidence proves and confirms that Offender Damon Doucet willfully and
knowingly made false material statements in this Federal Court deposition
and his fabricated lies have no merit.

                 state under oath that I refute offender Damon Doucet's
I Grace L. Stovall
false testimony and fabricated lies in the Federal Court deposition.

The evidence proves that offender Damon Doucet's Federal Court deposition
testimony significantly contradicts his accomplice's testimony, and he willfully
declared a multitude of discrepancies, proving beyond a reasonable doubt
that offender Damon Doucet has willfully and knowingly committed perjury
in this Federal Court deposition which proves his mens rea. (guilty mind).

Offender Damon Doucet had criminal intent.
Offender Damon Doucet's testimony in the Federal Court deposition confirms
that he has willfully testified to false misleading information with intent to
deceive the United States District Court tribunal.

The evidence proves that Offender Damon Doucet acted illegally as he was never
involved in my contracted employment agreement arrangement at this job,
therefore he was not privy to any of my private confidential employee
information and the evidence proves that Offender Damon Doucet's illegal
tortious interference is in violation of numerous employee labor laws.
The evidence proves that Offender Damon Doucet is deceitful, criminal racketeer
that is skilled in self-dealing, ill-gotten gains and unjust enrichment.
Offender Damon Doucet conspired to illegally exert financial and political
influence to commit these Federal crimes involving the Defendant Chicago Police

Offender Damon Doucet had criminal intent.
Offender Damon Doucet did not have Roberta Brown's permission to illegally
trespass into her condominium.

Offender Damon Doucet did not have the Plaintiffs permission to illegally
trespass into her residencefiobsite, the condominium.        Page 51 of 115
Offender Damon Doucet declared audacious lies about the Plaintiff with
disregard for the Plaintiffs safety.
The evidence confirms that offender Damon Doucet and Amy McCarty stalked
the Plaintiff at her previous job when they conspired with offenders Tarick Loutfi
and Casandra Melton, Lester Racker (a felon), Darlene Racker,
The evidence proves that all of these crimes and offenders are related,
connected and associated with corrupt Chicago Police Officers involved in
criminal racketeering "Theft Scheme" hate crimes involving corrupt Chicago
Police Officers in Chicago and lllinois that illegally ransack and pilfer personal
property and cash during illegal residential home invasion searches, hate crimes
and they share the proceeds with their informants and accomplices.




                                                                      Page 52   of 115
The evidence proves that offender Michele Henry willfully and knowingly made
false material statements in her Federal Court deposition.

The evidence and her Federal Court deposition testimony proves that
offender Michele Henry willfully and knowingly made false material statements
in her Federal Court deposition that have no merit.

                 state under oath that ! refute offender Michele Henry's
I Grace L. Stovall,
false testimony and fabricated lies in her Federal Court deposition.

The evidence proves that offender Michele Henry's Federal Court deposition
testimony significantly contradicts her accomplice's testimony.
The evidence proves that offender Michele Henry willfully declared a multitude
of discrepancies, proving beyond a reasonable doubt that Michele Henry
has willfully and knowingly committed perjury in this Federal court deposition
interview, which proves her mens rea. (guilty mind).
Offender Michele Henry had criminal intent.
Offender Michele Henry did not have Roberta Brown's permission to illegally
trespass into her condominium.

Offender Michele Henry did not have the Plaintiffs permission to illegally
trespass into her residencefiobsite, the condominium.

Offender Michele Henry declared and illegally circulated audacious Iies about the
Plaintiff with disregard for the Plaintiffs safety.
Offender Michele Henry's testimony in the Federal Court deposition confirms
that she conspired to willfully testify to false misleading information with intent
to deceive the United States Federal Court tribunal.
The evidence proves that Offender Michele Henry acted illegally as she was
never involved in my contracted employment agreement arrangement at this
job, therefore she was not privy to any of my private confidential employment
information, and her illegal tortious interference is in violation of numerous
employment labor Iaws.                                              Page 53   of 115
The evidence proves that Offender Michele Henry is a deceitful, criminal
racketeer that is skilled in self-dealing, ill-gotten gains and unjust enrichment.

The evidence confirms that offender Michele Henry conspired to illegally exert
financial and political influence to commit these Federal crimes involving the
Defendant Chicago Police officers.
The evidence confirms that all of these crimes and offenders are connected,
related and associated with corrupt Chicago Police Officers involved in a
"Theft Scheme" hate crime involving corrupt Chicago Police Officers that
illegally ransack and pilfer personal property and cash during illegal residential
home invasion searches and they share the proceeds with their informants and
accomplices to obtain self-dealing, unjust enrichment and ill-gotten gains
signifying continuity.




                                                                     Page 54 of 115
 Offenders Geoffrev Shaw and Jamie Bender. Amv McCartv and
    Ingrid Brown willfullv conspired to prepare and fabricate
  false evidence and present it to the Federal Court Tribunal.
Offender Geoffrey Shaw is a stranger and the Plaintiff and Roberta Brown do not know him.

Offender Geoffrey Shaw illegally breached security protocol and he illegally trespassed into
the !mperial Tower Condominium building (unannounced) and without permission of the
condomi nium residents.

Offender Geoffrey Shaw and Jamie Bender had no right to illegally trespass into the
condominium.

Offender's Geoffrey Shaw and Jamie Bender did not have Roberta Brown's permission to
illegally trespass into her condominium.

Offender Geoffrey Shaw and Jamie Bender did not have the Plaintiffs permission to illega!!y
trespass into the condominium.

Offender Geoffrey Shaw did not identify himself when he illegally trespassed into the
condominium and illegally "forced" himself in on the residents causing injuries and damages

Offender Geoffrey Shaw had criminal intent.
Offender Geoffrey Shaw willfully committed criminal aggravated trespass robbery
home invasion when they assaulted and injured the Plaintiff at her iobsite/residence.

Offender Geoffrey Shaw conspired with offenders Amy McCarty, lngrid Brown and Jamie
Bender and Damon Doucet to illegally trespass into the condominium without permission
to commit crimes.
Offender Geoffrey Shaw is skilled in deception, manipulation, convolution, kickbacks,
self-dealing, unjust enrichment, ill-gotten gains and RICO racketeering.

Offender Geoffrey Shaw illegally exerted financial and political influence to commit Federal
crimes.

Offender Geoffrey Shaw conspired with Offender Jamie Bender, Amy McCarty, lngrid Brown,
Damon Doucet and his accomplices to willfully fabricate false evidence to deceive the United
States Federal Court tribunal.

Offender Geoffrey Shaw willfully prepared false evidence and willfully presented the false
evidence and they had the criminal intent of knowing their fabricated evidence was false
when they filed it with the United States Federal Courts.                   Page 55 of 115
Offender Geoffrey Shaw has a criminal history of fraud, deceptive practices, and he willfully
fabricates false medical records with "false diagnosis and false reports riddled with lies and
words that were never said".

Offender Geoffrey Shaw's falsified report contradicts Roberta's documented, daily routine
activities as Roberta also writes checks to pay her bills (an audit of Roberta's three (3)
Wells Fargo Bank account will confirm this activity).

Exhibit: Bad reviews on Offender Geoffrey Shaw, stating that Geoffrey Shaw made false
diagnosis and false reports riddled with lies and words never said".

Exhibit: Plaintiffs complaint that she filed against offender Geoffrey Shaw with the
Department of Financial and Professional Regulations.

Exhibit: Offender Geoffrey Shaw is named as a Defendant in Appellate Court for his fraud,
deceptive practices and "tricking" victims by his illegally committing financial exploitation
involving (his accomplice) another group of corrupt public servants including Offender
Geoffrey Shaw's accomplice Sanjay Tailor presiding in Appellate Court case 1-17-0382,
Paul Cecchini vs Geoffrey Shaw.

Exhibit: Offender lngrid Brown's handwritten letter to the Plaintiff that contradicts Offender
Geoffrey Shaw's fraudulent fabricated report.

Exhibit: Roberta Brown's private insurance, Medicare, "Plan of Care Summary'' that
significantly contradicts offender Geoffrey Shaw's fraudulent fabricated reports.

Exhibit: This Plan of Care Summary "official" insurance document states that Roberta Brown
is "independent" and I only "assisted" her with bathing and dressing.

Exhibit: Roberta Brown circulated this letter to protect herself from offenders Jamie Bender,
Robin Webber, lngrid Brown and their accomplice.

Roberta Brown's letter asserted her "exclusive authority''and rights to make decisions,
give orders and enforce her rights stating her independence concerning her business affairs
while declaring that only she, Roberta Brown has exclusive authority over herself and her
assets.

Exhibit:                                                                         Page 56   of 115
Roberta Browns letter dated declaring her "exclusive authority" over her business affairs

    Roberta Brown's letter asserting her exclusive authoritv over herself and her assets.
                                (Letter dated April 8, 2015)

Roberta's letter is dated April 8,zOtG which was in effect "before" offenders Jamie Bender,
Amy McCarty, lngrid Brown, Damon Doucet and their accomplices committed their illegal,
fraudulent offences on April25,20I.6 involving their illicit conspiracy to illegally interfere
with the plaintiffs job by illegally invading the condominium with corrupt Chicago Police
officers (armed with guns) that were involved in the "infamous Chicago Police Theft Scheme
Ruse Robbery Scam.

Offender Geoffrey Shaw's opine/opinion is not factual and
                      fraudulent,
Offender Geoffrey Shaw's willfully falsified, fraudulent report indicates a gross distortion
and total fabrication of his conduct when illegally trespassed into Roberta Brown's
condominium without her permission.

Offender Geoffrey Shaw deceptively claims to be an independent however he is connected,
related and associated with his accomplices.

The evidence confirms that offender Geoffrey Shaw is deceptively working in collusion with
offender Jamie Bender, Amy McCarty, lngrid Brown, Damon Doucet, Platinum Healthcare,
Michele Henry, Benjamin Topp, Midwest Care management Service and their accomplices to
commit "fraud upon the court".
Offender Geoffrey Shaw illegally sells his falsified reports for illegal "improper purposes".

Offender Geoffrey Shaw illegally and willfully declared audacious lie with disregard for the
Plaintiff s safety and professional reputation.
Offender Geoffrey Shaw committed illegaltortious interference into the Plaintiff existing
contracted employment agreement and he did not have the Plaintiffs permission to illegally
interfere with her job.
Offender Geoffrey Shaw declared and circulated audacious lies about the Plaintiff, her work,
and her work ethics based on offender Jamie Bender's "false allegations" that had no merit
and no proof.

Offender Geoffrey Shaw conspired to willfully fabricate prolific lies and
illegally criticized the Plaintiffs work and work ethics based solely on
offenders Jamie Bender, lngrid Brown and Amy McCarty's audacious lies and he
had no proof of anything that he has alleged on his falsified report.
Offender Geoffrey Shaw committed illegal invasion of privacy when he illegally trespassed
into the condominium without Roberta Brown's permission and he illegally trespassed into
the condominium without the Plaintiffs permission.
                                                                                 Page 57 of 115
    Offenders Platinum Healthcare conspired to illegally invade
          the Plaintiff's iobsite sidence. condominium.
Offenders Platinum illegally committed criminal aggravated robbery Home Invasion, when
they illegally trespassed into the condominium, the Plaintiffs jobsite/residence.
Offenders Platinum Healthcare did not have Roberta Brown's permission to illegally trespass
into her condominium.
Offenders Platinum Healthcare did not have the Plaintiffs permission to illegally trespass
into her residence/iobsite, the condominium.
Offender Platinum Healthcare willfully declared audacious lies about the Plaintiff, her work
ethics and her work with disregard for the Plaintiffs professional reputation and safety.

Offender Platinum Healthcare had crimina! intent.
Offenders Midwest Care Management Services Benjamin Topp, Tanya Topp,
Victoria Topp conspired with the Offenders Platinum Healthcare to illegally
trespass into the condominium and illegally remain on the premises
without Roberta Brown's permission and without the Plaintiffs permission.

Offenders Midwest Care Management Services had criminal intent.

Offenders Midwest Care Management Service did not have the Plaintiffs permission to
illegally trespassed into the Plaintiffs residence/iobsite without the Plaintiff
Offenders Midwest Care Management Services conspired to declare audacious lies about the
Plaintiff with disregard for the Plaintiffs safety and professional reputation.

Offender Robin Webber conspired with the offender Ingrid Brown, Amy McCarty, Jamie
Bender, Midwest Care Management Services and offenders Platinum Healthcare to illegally
"stage" a scene.

Offender Robin Webber willfully circulated and declared audacious lies about the Plaintiff
with disregard for the Plaintiffs safety and her professional reputation.

Offender Robin Webber had criminal intent when she conspired with offenders lngrid
Brown, Amy McCarty, Damon Doucet, Tarick Loutfi, Platinum Healthcare and Midwest Care
Management services, Benjamin top, Tanya Topp, Victoria Topp and their accomplices the
Defendant Chicago Police  Officers.                                       Page 58 of 115
Offender Mark Ricks conspired to commit abuse, intimidation, fraud
and deceptive practices against the Plaintiff and her client at this iob.

Offender Mark Ricks employer of @ Home Healthcare Agency willfully committed abuse,
intimidation, conspiracy, fraud and deceptive practice and he had a criminal history of
victimizing clients and employees of @ Home Healthcare Agency.

Offender Mark Ricks abused, intimidated and harassed me during my employment
at @ Home Healthcare.

Offender Mark Ricks was abusive, adversarial and aggressively demanding that the Plaintiff
say unethical misinformation about client Roberta Brown to her reimbursing insurance
source,

Plaintiff refused to say the unethical misinformation because it wasn't true.

Plaintiff informed the client, Roberta Brown about the unethical misinformation that
offender Mark Ricks demanded that the Plaintiff state.

Offender Mark Ricks did not have Roberta Brown's permission to illegally breach the
contract for this job.

Offender Mark Ricks, lngrid Brown and Jamie Bender had criminal intent.

Offender Mark Ricks and lngrid Brown saw the Plaintiff as an obstacle to their illegal,
nefarious objectives.

Plaintiff was fearful of her employer, Mark Ricks during her employment working for his
healthcare Agency @ Home Healthcare.

The Plaintiff feared for her safety and for her client's safety.

Offender Mark Ricks is the employer for this job and he is responsible, liable and answerable
for acts committed at this iob.

 Employers have an obligation and Duty of Care to protect their employees from
               undue harm and phvsical iniurv in the workplace.
                                                                                 Page 59 of 115
Offender Mark Ricks refuses to allow the Federal Court to inspect the contents
of Roberta Brown's files and the personne! file of the @ Home Healthcare
employee, Plaintiff Grace L. Stovall.

Offender Mark Ricks conspired to conceal and tamper with evidence when he
refused to respond to the Federal Court subpoenas to submit Roberta Brown's
files, care plan and billing.

Offender Mark Ricks refused to give the Plaintiff a copy of her personnel file when she
requested it 4 years ago which is in violation of the employment Personnel Review Act Laws.




                                                                          Page 60 of 115
            Offender Robin Webber conspired to "stage" a "scene"
                     in Roberta Brown's condominium.

      Offender Robin Webber was the cook that Roberta Brown hired
                     to cook meals 3 times per day

Offender Robin Webber was the unlicensed cook that Roberta Brown hired to cook meals
3 times per day 7 days per week, for breakfast, lunch and dinner.


Offender Robin Webber set the table with 5 course meals in Tupperware containers and
every day in the morning Robin Webber would come in and make Roberta's organic
gingerroot tea at 5:00 a.m. and she would come in and pick-up her Tupperware containers
every evening so that she could refill them with food and repeat the food service for the
next day.
Exhibits: Pictures of Roberta Brown eating the food that Robin Webber cooks
for her every day.
There are2 other employees that Roberta hired to work for her and provide services on
a daily basis.


All three of these employees have worked for Roberta Brown for many years prior to the
Plaintiffs employment.

At about 5:30 a.m in the morning while I was sleeping in my bed with the bedsheets over
my head. I woke up when I heard Robing come in and I heard Robin Webber taking to
herself about her animosity against me and Roberta.
When I peeked from under the bedsheets I saw Robin Webber "stage" a "fake scene" and
she swiped items from the coffee table a!! over the floor and Robin pulled Roberta's hair
straight up in the air and messed it up Roberta's hair.
Then Robin Webber "took pictures" of the "fake scene" that she staged that was obviously
at the behest of her accomplices lngrid Brown, Jamie Bender, Amy McCarty, Damon Doucet
and Tarick Loutfi and their accomplices (who we did not know at the time).


The Plaintiff has since discovered that these offenders are connected related and associated
with offenders Tarick Loutfi, Casandra Melton and Damon Doucet, who, conspired to stalk
the plaintiff at this new job to commit these same crimes that they conspired to commit at
the Plaintiffs "previous'iobsite/residence involving corrupt Chicago police officers involved
in the infamous Chicago police'Theft Scheme" Ruse Robbery scam.              Page 51 of 115
        Offender lngrid Brown's handwritten note contradicts
             Offender Geoffrev Shaw's falsified reports.

Offender Ingrid Brown and Jamie Bender exhibited extreme jealousy against the Plaintiff
and their desperate, intrusive and disrespectful behavior caused Roberta Brown to shun
them as she was making arrangements with her real blood niece Sharon and Julie to
ostracize them when Roberta investigated and discovered their perfidious deception.


Offender lngrid Brown did not tive in the condominium.
Offender lngrid Brown demanded that the Plaintiffs employer, Mark Ricks force her to say
unethical misinformation about Roberta.

The Plaintiff refused to say the unethical misinformation about Roberta Brown because
it wasn't true.

These offenders became adversarial against the plaintiff.


Offender Ingrid Brown illegally and fraudulently destroyed the Plaintiffs reputation by
willfully fabricating audacious lies to rob the Plaintiff of her livelihood and her assets
involving corrupt Chicago Police officers involved in a Chicago Police "Theft Scheme"
Ruse Robbery scam.


Offender lngrid Brown conspired and criticized the PIaintiff and her work in a deceptive,
unfair, unethical way by declaring audacious lies that had no merit and no proof as they
conspired and recruited their accomplices, the Defendant Chicago Police officers to illegally
invade and rob the Plaintiff at her jobsite/residence, the condominium.

Ingrid illegally exerted financia! and political influence to commit Federal crimes involving
the Defendant Chicago Police officers.

Exhibit: lngrid Brown's handwritten letter to the Plaintiff request that the plaintiff sleep over
and for Roberta Brown to write and sign statements that Roberta wants the plaintiff to sleep
over which proves Roberta Brown's authority and capacity to make decisions, write
statements and sign the statement which gave the plaintiff additional permission.
  2. Confirms that the plaintiff cleaned up the condominium "everyday''.

      This handwritten letter   written by offender lngrid Brown specifically references
      "the table by where Roberta sleeps"                                       Page 62 of 115
This table by where Roberta sleeps is located in the front room living room where
Roberta has slept for over 20+ years and everybody that knows Roberta (including
lngrid and Jamie Bender) knows that this had been her sleeping arrangement of choice

Offenders lngrid, Jamie Bender and Amy McCarty knew this when they willfully
testified declaring these audacious lies and false allegations that had no merit and no
proof of anything they have alleged.

Roberta Brown has lived in The lmperial Towers Condominium building since it was
built in tg62 over (50 years) and the entire building staff and her friends, fans and her
neighbors tenants knows Roberta and knew about Roberta's living arrangements of
sleeping in her spacious from living room for over 20 years and they also knew that
these were lies that had no merit and no proof being reported by these criminals.




                                                                    Page 53   of 115
                                United States District Court
                                     Grace Stovall vs Amy McCarty
                                           Case   fr20t7 cv4762




                  Aggrieved Plaintiff, state under oath, that John Whitcomb of
I Grace L. Stovall,
Monahan Law Group testified to Sanjay Tailor on July 3L,20L7, that
"the Chicago Police Officers arrested and forced removed me, employee,
Grace Stovall from my jobsite/residence, condominium #724.

The evidence also proves that John Whitcomb testified to Sanjay Tailor that
he represents Defendant Mark Ricks (the owner of @ Home Healthcare and
Ricks Services).
Further Affiant Sayeth   :




Grace L. Stovall, employee, Aggrieved Plaintiff

                                                                    August 7,20L7




                                                                       Page 54 of 115
                  Plaintiff, state that I have a right to be safe, I have a right
I Grace L. Stovall,
to work in a safe workplace and I have a right to Iive in a safe place,
without being repeatedly stalked, attacked, robbed and Iooted of my
persona! property, clothing, shoes, assets, valuables, cash and
evidentiary evidence by serial corrupt Chicago Police officers repeatedly
and illegally ransacking and looting my jobsite/residences and avoiding
prosecution because the Defendant City of Chicago refuses to stop
these criminals from victimizing me, an injured employee and essential
worker.
Grace L. Stovall, injured employee, victim, Aggrieved Plaintiff
Affidavit by Grace L. Stovall (victim) of Chicago Police corruption committed by
corrupt Chicago Police officers that falsified Police report RD # HY298643
resulting in my falsely being arrested for "fake crimes" that were "staged" and
committed by corrupt Chicago Police Officers resulting in false arrest records.
I Grace L. Stovall, aggrieved Plaintiff, state that I refute the willfully falsified
information and fabricated lies on this false police report RD # HY298643
and the lies stated in this falsified police report have no merit and no proof of
anything that is alleging.
I Graced L. Stovall,aggrieved Plaintiff am demanding that the Defendant City of Chicago et,
al. and the Defendant City of Chicago Police Department and all of the corrupt Chicago
Police Officers recant their false police report #HY298643, to permanently clear my name of
false charges that corrupt Chicago Police officers fabricated for an alleged theft of a watch
from the corpse of deceased Frederick L. Gibson (my client) as a result of a criminal
conspiracy theft scheme, hate crimes involving corrupt Chicago Police Officers and their
accomplices falsifying "false police reports" for "fake crimes" that have no merit.

The "false police report" # HY298643 for the "fake crime" committed by the corrupt Chicago
Police caused me to be illegally arrested and jailed on July 8, 2015 resulting in false arrest
records that the corrupt Chicago Police officers willfully conspired to cause liable, slander
character assassination an defamation of character willfully, and knowingly committed
against me by the Defendant City of Chicago and the Defendant City of Chicago Police
Department and it's corrupt Chicago Police officers conspired to illegally arrest me on at the
Daley Center (Government property) to stop me from testifying about the hate crimes and
robberies that the corrupt Chicago Police and their accomplices committed against me at my
jobsite/residences.                                                             Page 55 of 115
The evidence proves    that prior to this illegal arrest the Chicago Police officers committed
criminal aggravated trespass/home invasion, robbery, hate crimes and looting of my
personal property and valuables at my jobsite/residence where me and my client
Frederick Gibson resided, for a year, where I worked as his assistant manager, and
professional, agency contracted live-in employee.

The evidence proves that when I came   to pay my respects to my client Mr. Fredrick Gibson
at the AA Rayner Funeral home at 318 E.7L st, the corrupt Chicago Police officers conspired
with their accomplices, Amy McCarty, Tarick Loutfi, (Felon) Lester Racker jr, Darlene Racker,
Lester Racker, (corrupt AA Rayner funeral home employee) Dwayne Thompson to "make-up
a "fake crime" that a watch was stolen off of Frederick Gibson's dead body and this lie has
no merit.

The evidence proves that the corrupt Chicago Police officers conspired   with Frederick
Gibson's adversaries to make up lies on me and him to illegally interfere with his my
employment arrangements for their own unjust enrichment and the corrupt Chicago Police
officers caused Frederick Gibson's demise as a result of their conspiracy with his next door
neighbor, corrupt Casandra Melton and her accomplice Bertina Powers, involving Darlene
Racker,

The evidence proves that offender Lester Racker a felon and crack head" and
offender Casandra Melton, Bertina Power were there "lying in wait" to plot the fake crime.

During my entire employment working for Frederick Gibson we were robbed, harassed,
threatened and shaken down for money by the corrupt Chicago Police officers at 51't and
Wentworth police station led by corrupt Sergeant Troy Williams, 2670
corrupt Chicago Police officer Sergeant Hosea Word, 2O3L
corrupt Chicago Police Officer LaMonica Lewis, 3601
corrupt Chicago Police officer Peter Delgado, 10509
corrupt Chicago Police Officer John Slowinski, 1951
Paulina Heard 197

corrupt Chicago Police Officer Aurimas Janusonis 15290
corrupt Chicago Police Officer Kelly McBride,
Chicago Police Officer Judith Murphy, 18590

The evidence proves that the corrupt Chicago Police officers illegally arrested me on "
false charges that they "trumped up" and "staged" to "frame me" for allegedly stealing a
watch off of the corpse of my client Frederick Gibson, whom I worked for and lived with for
a year, and   their lies have no merit.
The evidence proves that the corrupt Chicago Police officers arrested me without a warrant,
without due process and without an order to commit the arrest.            Page 55 of 115
The evidence proves that when I appeared for the court hearing on September 8, 2015 at the
designated Belmont police station, Offender Lester Racker ir. (a felon) and his accomplice
Tarick Loutf failed to appear when this "bogus" false arrest case was called at   the Belmont
police station.

I was also designated by Mr. Frederick Gibson as his official assistant manager
for his business affairs and I am his official fiduciary designated by him personally,
therefore I have legal standing that is to be acknowledged and not usurped.
The evidence proves that this false arrest record has caused irreparable damages to my
professional career, loss of my livelihood, loss of my lifestyle and irreparable damages
to my entire life, irreparable loss of property due to the repeated robberies that were
implemented by these corrupt City of Chicago Police officers and their accomplices.

As of this date I have suffered 4% years and counting due to the corrupt Chicago Police
officers "false police reports" for "fake crimes", that they "staged" with their accomplices
to commit liable slander defamation of character, character assassination, stalking, robbing
and Iooting my personal property and valuables at my jobsite residences.




                                                                                  Page 67 of 115
                                United States District Court
                                     Grace Stovall vs Amy McCarty
                                                2Ot7 cv 4762



                  injured employee, Aggrieved Plaintiff, state under oath, that I
I Grace L. Stovall,
am a victim of a series of robberies as a result of a Chicago Police "theft scheme"
"ruse" that keeps stalking me, robbing me, illegally arresting me while they
ransack and loot my personal property, clothing, shoes, valuables, cash, assets
and evidentiary evidence from my jobsite/residences.

The evidence confirms that the Defendant City of Chicago refuses to implement
the return of my possessions that its corrupt Chicago Police officer's and their
accomplices stole from me in 4 identical "ruse" robberies using the exact same
"hijacking" tactics to rob me at my workplaces/residences.
The evidence confirms that the Defendant City of Chicago has conspired to
impede, compromise and undermine this Federal case with frivolous, vexatious
motions causing more damages and causing me to suffer and exist in poverty,
indigence and homelessness, without resources to provide basic needs,
during a word wide pandemic.
Further Affiant Sayeth,

Grace L. Stovall, injured employee, Aggrieved Plaintiff.



                                                               March 29,202A




                                                                               Page 68 of 115
                  employee, Aggrieved Plaintiff, state under oath that, ! worked this job as
I Grace L. Stovall,
a professional contracted live-in employee of my "official" employer @ Home Healthcare,
Mark Ricks, Ricks Services with the contracted authority of the owner of the condominium
(Roberta Brown) requesting services and authorizing me to move in my person and
my assets and reside in her condominium # 724, with her, at ImperialTower Condominiums,
located at 4250 N, Marine Drive, Chicago, lllinois in accordance with my assigned client's
contracted employment agreement with @ Home Healthcare.

I provided services to my assigned client according to the terms of the contract that I and my
"official" employer signed for me to move-in with my assets and provide the professional
Iive-in services that this client requested.

I am   entitled to rights as an employee and bound to perform duties.
Iand my "official" employer @Home Healthcare have a right against "third persons" for
an injury to the person employed (Grace L. Stovall), or for harboring them so as to deprive
the client of her services.

My "official" employer @ Home Healthcare's duties are to pay me the compensation agreed
upon to provide professional contracted services 7 days per week, 24 hours per day,
exclusively, per the client's request.

The evidence confirms      that my skilled work   is impeccable.
There were only compliments, there were no complaints and no problems.

This is a matter of "official" employment records that the Defendant City of Chicago has
conspired to "conceal" and "obstruct justice" with the employer, offender Mark Ricks of
@ Home Healthcare     to
The evidence confirms that this a "series" of crimes committed against me at my
iobsites/residences, and I recognize this Chicago Police "theft scheme" "scam" because the
offenders Amy McCarty and her accomplices and corrupt Chicago Police officers stalked me,
robbed me, stole my personal property, clothing, shoes etc. and illegally ransacked and
looted my valuables, cash, assets and evidentiary evidence using this exact same "ruse"
robbery at my previous jobsite/residence on April L4,20L5.

The evidence confirms that these offenders conspired to willfully and maliciously commit
liable, slander and defamation of character by declaring "trumped-up" lies that had no merit
and no proof and they nefariously documented their "trumped up" lies on false police
reports to illegally cause tortious interference and violation of numerous employment laws.

The evidence confirms that these criminal scam artist offenders implemented this elaborate
criminal "ruse" for their own unjust enrichment, ill-gotten gains, and self-dealirg. page Gsor 1
   Offenders Platinum Healthcare illegally trespassed into
       the condominium #724 with their accomplices.
Repeat offenders Platinum Healthcare conspired with corrupt Chicago Police
officers and they committed Criminal trespass robbery home invasion into the
plaintiffs jobsite/residence to incite tortious interference by improper means
for an improper purpose with an intent to harm the PIaintiff, Grace L. Stovall.
The evidence confirms that the Offenders Platinum Healthcare are repeat
offender of fabricating false and fraudulent records and charges and they have a
criminal history of fabricating false and fraudulent charges and records to
defraud the United States Government in a massive multiyear healthcare fraud
scheme to steal Medicare, Medicaid, Social Security and Veterans Administration
checks from the United States Government in Federal case: 1:13cv-05437.
(Federal Court case United States of America vs Platinum Healthcare)

ln this Federal Court lawsuit these repeat offenders Platinum Healthcare
"Fabricated false and fraudulent charges and records" to steal government
checks from Social Security, Medicare, Medicaid and Veterans Administration.

Offenders Platinum Healthcare did not have Roberta Brown's permission to
illegally trespass into her residence condominium.

Offenders Platinum Healthcare did not have the Plaintiffs permission to i!legally
trespass into her residencefiobsite, the condominium.
Offenders Platinum Heatthcare had no right to illegally trespass into the condominium
without the resident's that occupied the condominiums permission.




                                                                              Page 70 of 115
ln regards to protecting oneself from "abusive" public servants:
"stalking and exploitation" as well as "neglect to protect" by persons
under Oath of Office, (sworn to uphold and enforce the laws) wherein a
person having "knowledge of the Iaws", "the power to stop a wrong"
and the "duty to prevent a wrong from being done", is liable for any
failure to act, having knowledge of the law, the power to prevent, and
the legal or moral duty to prevent the wrong which caused deprivations
of Plaintiff's Civil rights and deprivations of the Plaintiff's Constitutional
rights, suit can be brought for violations.




Respectfully Submitted




                                                              PageTL of 115
                                                                 hl3rrrrrr




This handwritten note was written by offender
                                                  lngrid Brown to the plaintiff,
which proves that lngrid and all of her accomptices
                                                      willfully prepared and
fabricated false evidence and they willfully lied to
                                                     the Federal court Tribunat.




                                                   Exhibit page 72 of LLS
Blue wall of silence
The   blue wall of silence,[1] also blue code[2] and blue shield,[3] are terms used in the United States to denote the
informal rule that purportedly exists among p-olige*qfl-c_e,Jq not to report on a colleague's errors, misconducts, or crimes,
including p_g_!lpg_.b_I_u!ali-ry. If questioned about an incident of alleged misconduct involving another officer (e.g. during the
course of an official inquiry), while following the code, the officer being questioned would claim ignorance of another
officer's wrongdoing or claim to have not seen anything.




  Contents
  Police corruption
  Laws
  Gases
  History
  Police culture
  Whistleblowing
  Levels of crime
  Exposing the code
  See also
  References




Police corruption
Ttre code is considered to be an example of police corruption and misconduct. Officers who engaged in discriminatory
arrests, physical or verbal harassment, and selective enforcement of the law may be considered to be corrupt. Many
officers who follow the code may participate in some of these acts during their career for personal matters or in order to
protect or support fellow officers.[4] All of these are considered illegal offenses and are grounds for suspension or
immediate dismissal. Officers who follow the code are unable to report fellow officers who participate in corruption due to
the unwritten laws of their "police family."


lql&gp3glry or "testilying" (in United States police slang) is when an officer gives false testimony in court. Officers who
do not lie in court may sometimes be threatened and ostracized by fellow police officers. In t9gz, the Commrssion to
Investigate Allegations of Police Corruption (also known as the VIqlLe" C_op-1ni_ggion) undertook a two-year investigation
on perjury in law enforcement. They discovered that some officers falsified documents such as arrest reports, warrants
and evidence to provide "cover" for an illegal arrest or search. Some police officers also fabricated stories when testiffing
before   a   jury.
imprisoning      pr



Laws                                            Exhibit page 73 of 115
             -.lEh-...
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                                      2 officers
                                      indisted
                                      iri theft
                                      scheme




                                  Exhibit page 74 of tLS
Picture of employee, Aggrieved Plaintiff, Grace L. Stovall's private doors itlegatly busted
down by corrupt Chicago Police Officers with battering rams at her previous
jobsite/residence in a series of Criminal Aggravated Trespass Robbery/Residential Home
lnvasion, ransacking, looting Sprees and lndecent Exposure Crimes implemented by
corrupt Chicago Police Officers on April 14,2015.
Note: The evidence proves that corrupt Chicago Police Officer Jacob ElDinger Badge # 10865,
illegally changed the date of this crime in the official police records as he illegally deleted
evidence from the officiat police records by illegally tampering with officiat police records
to concealthe "theft scheme" hate crimes, Criminal aggravated trespass, robbery
residential home invasion, looting sprees, illegalarrests, illegal lock-out and illegal eviction
that the corrupt Chicago Police Officers at 51't Wentworth Police Station committed without
a warrant, without due process on Apri! 14 2015 and again on April 28,2015.
The evidence proves that these crimes were committed by the following corrupt Chicago Police officers:
Chicago Police Officer- John Slowinski Badge # 1951 , Chicago Police Officer- Peter Delgado Badge S 10509
Chicago Police Officer- LaMonica Lewis Badge # 3601, Chicago Police Officer- Pauline Heard Badge * 19787,
Chicago Police Officer- Troy Williams Badge # 2670, Chicago Police Officer- Aurimas Janusonis Badge f 15290
Chicago Police Officer- Hosea Word Badge *2031 , Chicago Police Officer- Kelly McBride Badge S
Chicago Police Officer-Judlth Murphy Badge # 18690 and their accomplices and Chicago police officers TBA
The evidence proves that corrupt Chicago Police Officer Pauline Heard wrote a ransom note demanding that
the Aggrieved Plaintiff, pay the Chicago Police Officers a "cash money'' ransom to return the personal
propefi that the Chicago Police Officers stole fronr her on April ld 2015.
The evidence proves that corrupt Chicago Police officer Pauline Heard wrote numerous'fulse police reports
for "fake crimes" and her f-alsified police reports have no merit.
                                                                         Exhibit page 75 of 115
                     Platinum Healthcare Accused of Steallng Senlors Soclal Securlty,
   A nursing home cEo accused of stealing government funds from patients linked
                                                                        is      to donations.

 Donors Tied To Company Accused
 Of Stealing Seniors' Social Security
 The company allegedly stole more than $1 million from Medicare, Medicaid and
 veterans too.


                                                                                 a lawsuit
The CEO of platipum health Care ---- a nursing-home chain that recently settled
alleging it stole patient's Social Securitv, Medicare, Mqdicaid and Veterans AdFinist.ration
pavments -is closely linked to five mysterious companies that made suspicious donations'

The five limited liability companies, which own or operate assisted Iiving facilities
                                                                                      for seniors,
each made suspicious donations on Dec. 2L, 20t5. That's the same day that
                                                                                 Platinum Health
ciie -which sl-rares the same skokie, lllinois, address as the five LLCs - settled over allegations
                                                                                         out of
that CEO Ben Klein and his firms kept senior's government checks after they moved
Platinum facilities or died.
                                                                        and fraudulent charges
Klein and his co-defendanti, the complaint charged, "fabricated false
              ,,pocketing at least $t million from Medicaid and an unspecified amount from
and records,
                                                                          belonging to a Navy
Medicare. The defendants also allegedly kept $g2,595.90 in vA benefits
                                                                          or returning it to the
veteran who had died, rather than transferring the money to his estate
                                                                                    worth of
government, as the law requires. The company stole tens of thousands of dollars
                                                                   or operated, according to the
social security payments at just one of the 26 facilities it owned
complaint.



 POLITICS o3l:.slzoLo o3: 12 Pm ET


 United States of America v. Platinum Health Care, LLC, 1:13-cv-06437          -   Courtlistener.c... Page   1   of 9




   United States of America v. Platinum Health
   Care, LLC (1 :13-cv-06437)
                                                                                        Exhibit page 76 of Ll,S
   District Court, N.D. lllinois
                             Exhibit page 77 of tLS

           Unknov*n employee from Platinum Care Ageircy, address and telephone nqrrber

           unknown.


       Defendant further provides that all Chicago Police OffEcers may be contacted through

undersigned counsel.


3.              full name and current reside,nce address of each percon not named in
       State ttre
Interrogatory No. 2 above who was present and/or claims to have been present at the scene
immediately before, at the time oS and/or immediately after the occurrences.

ANSWER: Defendant objects to ttris interrogatory because it calls for information regarding

other persons of whom Defendant may lack personal knowledge. Defendant further objects to

providing personal identifying infonnation such as the residential address and telephone numbers

of police officers as it is a security risk to police officers and their family and is not relevant or

proportional   to the needs of this case. Subject to and without waiving these objections,
Defendant states that to the best of his knowledBq no one other than the percons named in

Defendant's Answer to Interrogatory No. 2 were present at &e scene on       April25,20rc.

4.      Do you know of any statements made by any person relating to the complained of
occurrences? If the aoswer to this interrogatory is yeg state the following: (a) &e date or dates of
such conversations and/or stat€ments; (b) the place of such conversations and/or statelnents; (c)
all persons present for the convercations and/or statements; (d) the matters and things stated by
the person in the conversations and/or statements; (e) whetherthe coaversation was oraf written
and/or recorded, or posted to social media; and (0 u&o has possession ofthe statement ifwriuen
andlon recorded.

AI{SWER: Defe,ndant objects to this interrogatory on the grounds that           it   is not reasonably

limited as to eittrer time or scope, and on the grormds that it calls for infonuation outside of

Defendant's personal knowledge. Defendant further objects exte,nt that the information requested

is protected by.attomey-client privilege and/or work prrcduct doctrihe. Sunl$cl"to and without

waiving these objections, Defendant states that he is not personally arumhthtN starer.;cnrs"uiade
                                            Dr. Geoftey S Shaw MD Reviews Northfreld,
                                                                         I            tL I Vitals.com




Dr. Geoffrey S Shaw,                MD   - Reviews
Psychiatry . Northfiet{ tL

    PHONE   NUMBER           READ REVIEWS


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                                                                                     .REDENTT, >

      Failed to properly diagnosg report was
                                             riddled with lies and words never said...Very
                                                                                           disappointing
      Show FullReview         v




                                    Exhibit page 78 of 115
                            [Efl[ffi#is ffiepmrtrnne,:t of Fnm&ffi#Effifr ""t                                           100 West Randolph Street

                              asrfi{ PnofessaetrtmB ffi.egu*fiatxms'} xg HAY 23
                                          Llivision of Frofessional         Regulation            CBFJ*.
                                                                                                                        3 1   2-81 4-691 0




                                                COMP[-A,INT' / CLAIM INT$"KE REPOR'!
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     ?-.     Please attacli copies of irnportant pap€rs concerning your complaint / claim.
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i Ycur I'lcnie                                                                Daytime Telephone   Number 773 936-3019
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     Ciiy/Torvrt                                                                                            ZIP   Code        6061S
                         CHICAGO
 i Email Address        - Required for lnternal Use Only
                                                           gracelstoval lel@gmail. com


     Name of Provider of Services DR GEOFFREY SHAW

     StreetAodress                                                                                Date event Occurred
                            1gl waukegan Rd - suite 120                                                                 APril23, 2016

                                                                                                           COOK COUNTY ILLINOIS.

     Brl   elly describe yoltr conrplarint.
                                      PLEASE SEE ATTACHED UPDATES
           Addendum: PreviouslY File Report Case # 201-06921




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                                          You will receive an acknowledgment letter via email only.
         rL4B6- t 717 PRO R=Ll
                                                             Exhibit page 79 of 115
                                    201   8 IL ApP   ( I st)   170382-tj

                                                                                FOURTH DryISION
                                                                                March 29.?018

                                             No. l-17-4382

NOTICE: 'fhis order was liled under Supreme Court Rule 23 and may not be cited as
                                                                                  precedent

by any party except in the limited circumstances allowed under Rule 23(eXl )'


                              IN THE APPELLATE COURT OF ILLINOIS
                                    FIRST JUDICIAL DISTRICT



PAI.]L A. CECCHINI,
                                                                                     Appeal from
                                                                                     the Circuit Couft
  Plaintiff-Appellant,
                                                                                     of Cook CountY

                                                                                     i 6-L-001 8   l6
WILLIAM R. K{.JEHN; WILLISTON, MoGIBBON & KUEHN;                                     Honorable
.THIiODORE KNRVIDAS; FRANCIS M MARTINEZ;
                                                                                     Sanjay T. Tailor,
iol-IN PE'I'ER CURIELLI; OEOFFRbY SHAW; JANICE A' PIELET;                            Judge Presiding
and RtlC CAPITAL, MARKETS,

   De fendants-APPe   II   ees.



        JUSl.lCEMcBRIDEdeliveredthejudgmentofthecourt. judgment'
                                                           in the
        Presiding Justice Burke and Justice EIlis concuned

                                               ORDER
                                                                 death challenging wherher she should
 Itcttt: where heir f,rled suits before and after his mother's
                                                   an inve.sfment.advisor' und u physician' to
                                                                                                   amend
 have been helped by hcr daughter, attorneys,                                    properly   dismissed  the
 her estate plan iu order to equally U.r,.ni
                                             t  * two children, the trial court
                                                                                             of repose'
                                                       stafute of ,imitations' and a statute
 son,s sccond action on the basls of res i"'aiiito,a

 lllPaulA.Cecchiniappealsfromthedismissalo[anamendedcomptainthefiledagainst
                                      whom he contends conspired to "trick" his
                                                                                mother
 legal, investment. and medical professionals
                                                                                              instead
                                             plan which eqr-rally benefited her two children'
 into reviving a prior version of her estate
                                                      for the loss of the'Jusr apportionment" of
                                                                                                   his
 of primarily benefitting Paul, Paul sought damages




                                     Exhibit page 80 of 115
     Money laundering carries a maximum penalty of 20 years in prison and a $500,000 fine. Health
     care fraud and conspiracy to commit health care fraud carry a maximum penalty of 10 years in
     prison and a $250,000 fine and restitution is mandatory. Making a false statement in a health
     care matter carries a maximum penalty of 5 years in prison and a $250,000 fine. lf convicted, the
     Court must impose a reasonable sentence under federal statutes and the advisory United States
     Sentencing Guidelines.




     Component(s):
'    USAO - lllinois. Northern

                                                                                    Updated July 24,2015




                                 Exhibit page 81 of 115




hups://wwwjustice.gov/usao-ndil/prll2-charged-chicago-part-largest-national-medicare-fr... 712312020
passages owner Seth Gillman, nursing director and attorney plead guilty   to S7M health fraud



l-Team


Passages owner, nursing director pleads guilty
to $7M healthcare fraud scam
Chicago (WLS)- An attorr€Y, Seth Gillman and founder of the now-
shuttered Passages has pleaded guilty to falsifying healthcare claims
in an elaborate, multi-year Chicago scam.




                            Exhibit page 82 of 115
AO   9l (REV.5/85) Criminal   Complaint                                              AUSA Stephen Chahn Lee (312) 353-4127

                                          LTNITED STATES DISTRICT COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                                 EASTERN DIVISION

UNITED STATES OF AMERICA
                                                                 CRIMINAL COMPLAINT
                                  v.
                                                                  CASE NUMBER:
SETH GILLMAN


           I, the undersigned complainant, being duly swom on oath, state that the following is true and correctto the
best of my knowledge and belief:

                                                          Count One
           Beginning no later than August 2008 and continuing until January 2012, at Lisle, in the Northern District
of Illinois, Eastern Division, and elsewhere, SETH GILLMAN, defendant herein:
                     did knowingly and willfully participate in a scheme to defraud a health care benefit
                     program, namely, Medicare, and to obtain money owned by and under the custody and
                     control of Medicare by means of false and fraudulent pretenses, representations, and
                     promises, in connection with the delivery of and payment for health care benefits, items,
                     and services, and, on or about October 14,2009, did execute the scheme by knowingly and
                     willfully submitting and causing to be submitted a false claim, specifically, that services
                     provided to Patient DB beginning on October 1, 2008 through October 15, 2008 qualified
                     for reimbursement at an elevated level of hospice care,

in violation of Title 18, United States Code, Section 1347.
                                                          Count Two
           On or about September 8, 2009, at Lisle, in the Northern District of lllinois, Eastern                      and

elsewhere, SETH GILLMAN, defendant herein:
                     did endeavor to influence, obstruct, and impede a Federal auditor in the performance of
                     official duties relating to a program receiving in excess of $100,000, directly or indirectly
                     from the United States in any 1 year period, by submitting and causing to be submitted to a
                     federal auditor, namely, TrustSolutions, a file for Patient DB that had been altered so that it
                     would appear that Passages' claim for an elevated level of hospice care regarding Patient
                     DB was justified,

in violation of Title 18, United States Code, Section 1516.


                                                             Exhibit page 83 of 115
Anonymous said ...
I was an attorney in the court room that day and was disgusted. Amy McCarty
was the attorney along with Joe Monahan of Monahan & Co'hen from Chicago.
Amy McCarty was particularly brutal during the hearing and ran the courtroom.
She was a pit bull against this gentle caring daughter. I am ashamed this has not
been addressed fsr filing a false petition. The daughter was caring and loving
devastated by these hijacking tactics. Who gets between a daughter and her
mother with these trumped up reasons ?
What does anyone know about Amy McCafi. Please post it.
She should be disbarred for this.
Thursday, January 27,2011 12:34 00 am




Anonymous said...
My recommendation: file a complaint with the ARDC.. it won't be her first.
Thurcday, January 27,20L1 11:51 00 am




Anonymous said              ...

Amy McCarty works on a regular basis with Northwestern Hospital. She is has also been
watched in the courtrooms and has a history of turning simple cases in convoluted cases
which allow her excessive attorneys fees to be charged.
lf your loved one was exploited by Amy McCarty, please report her actions to the state and
federal officials, as well as the ARDC.
Sooner or later she'll need to be held accountable for her actions.
The sooner the better.
Friday December 16,2011 7:09 Pm



Amy McCarty was recently seen in a Cook County Couftroom attempting to gain a client.
Amy McCarty replied: your honor this is truly a contested case, and l'm ready to take it.
Fortunately for the woman caring for her uncle, the judge didn't buy Amy McCartt's attempt
to convince the iudge it was a contested case.
 It is pretty sad when attorneys go fishing in the court for cases.
 Shame on Amy McCartY.
 Sunday December 18, 2011 9:45 0o Pm                    Referenced from the National Association




                                                                          Exhibit page 84 of 115
Employer legal definition of Employer



Employer legal definition of Employer
                                https://legaldictionary'thefreedictionary'com/EmSoyer




employer
n. a person or entity which hires the services of another. (See: employee, principal)

Copyright @ 1981-2005 by Gerald N. Hill and tGthleen T. Hill. All Right resewed.




 EMPLOYER. One who has engagd or hired the services of another. He is entitled to rights and bound to perform
duties.
    2.-1 . His rights are, to be served according to the     terns of the contract. 2. He has a right against third pemons
for an injury to the person employed, or for harboring him, so as to deprive the employer of his services. 2 Bouv.
 lnst. n.2295.
    3. His duties are to pay the wort<rnan the compensation agreed upon, or if there be no special agreement, such
 just recornpense as he deserves. Mde Hire; Hirer.




                                                Exhibit page 85 of 115
                       Wage and Hour Division (WHD) - U.S. Department of Labor   Page 1 of   3




United States Department of Labor
Wage and Hour Division
Wage and Hour Division (WHD)
(April 2016)   (PDF)




                                                Exhibit page 86 of 115
                                   Plan of Care Summary

Claimant Name: Roberta Brown                       Policy    L__--.-.-..-.--._-_-_ 3
We have determined you meet the eligibilityrequirements of your policy
                                                                       as outlined below:




     Batling                             D"o"od"
     Dressine                            Dependent
     Eating                              Independent
     Continence                          Independent
     Toileting                           Independent     ,

     I ranslerrlng                                   t




Defi{ritions of Dependency Levels
Dependent: Regular assistance is required. (Refer to yoru policy for the specific definition
                                                                                             of the
Ievel of care required)
Independent: Performs entire activity without assistance from another person. May use
mechanical devices or equipment, but does so without the assistance of another person. (Refer
                                                                                                 to
your policy for the specific definition of the level of care required).

                                 Summary of Covered Services




                                                 @ Home Healthcare             1




                     Approved Frequency of Up to 24 hours per day,7
                                                                                       Serviced by
                     Service
                                                                                       Employee -Grace Stovall
                     Amount eligible for         Any amount considered
                     coverage                    for reimbursement cannot
                                                 exceed Approved
                                                 Frequency of Service as
                                                 noted above, nor can it
                                                 exceed your maximum
                                                 benefit amount.

                                                                             Exhibit page 87 of 115
                             CEBTIFICATE OT SERVICE

I, Graee stovell certi& tpt on May 16, 2016, esrioe o{the breoins pewmcr
Rqu* Inttcr e hrrrand for ttu Rattrn of furwt..t P'q,,rty *"s *aa" by fimt-fu
classo mtifred mail.



                                                                  Gritp Stolrall
Via firlt,elaga. certifisd   lrrih
@Homc Hcal&cue
clo MarkRic*s
l7t5 Esst sfth Srctn
Chicago,IL60615




                                                   Exhibit page 88 of 115
             IN THE crRCI]I? couRT oF cooK couNTy, rLr.rNors
                 C OLI}'TY DEPART'MENT. PR,OEA?E
                                                 DIVISION

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BOBERTA BROW}.I.                                                                      iin
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                                Petitioners,            )
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                                                        )
                                                         I   No.   20L6-P-?EgB
                                                        )
GEACE ST'GVAI,I,"                                       )
                                                                    Hon- Ann Coilius-Dole
                                Bespondent.             )
                                                        )          Canendar     LB




        NOI'Y coMEs the Respondent GRACE sTovArL (fuIs.
                                                                    srova-il,,), b), and
t'hrnugh her attorney, Jason Han of the Law offi.ce ori**oo
                                                                r{an, aaJp,L*uot uu,
Motiott' for Responden't's Personal. h"alerty, and i:r support
                                                               of saii vrodoo.-siates,

       1i On ol about April23.      2016. l,'Is. Stovaii was resicliag rn rhe lesidence of,
            Roberta Erolvn as her live-in caretaker. and she haL
                                                                       been aoing.so for
            approximately a ]-oar- Someone knocked on the door. Wheo
            door, il{s. Stovall was attacked^_Lv several people *cluctiae "iJof",,ua
                                                                                             tir"
                                                                              tiu p"ii*orrur"
            belriqd the emergenc5r $"4", of Plotectiorragainst her. As a
                                                                                rrsult of the
                                                                                           -
            attaek' hfs- Stovall was left with aa iujurecl neek ancl nu.f.,
                                                                               r=q"iri"s
            e:rtensive therapy and medical eare. hIs. Stovall and, Eoberta gr,owr,
                                                                                          called
            securiLy withirx the buildiag of Roberta Browns residence
                                                                             and told them
            nhat had occwred.

       2) On ApriJ 25,2016. petitioners filed the emelgeucy Order            of protection
            agarnst I\,Is. Stovali.

       3)   After filing the ernergency order of protection against I,I,o. stsvall, the
            petitioners. accompanied by Chicago police, entened Robeita
                                                                             Browns
            residence and within less thaa lb m.inu1ss, forced Ms. Stovall out of the
            residence without allowing I\,Is. stovall to collect any of her personal
            pr"opei$.- from Roberta Brorvn's resideace.

       4)   ra England during the time   of the American Revolution, probaie courts
            lvere considered courts of eqrrify. While Illiyrsjs, and mostAmerican




                                                                             Exhibit page 89 of 115
      tr\   Ms. Stovaii has had to inc1rr the reasonable e:ipenses of hiring of an
            attorrrey, Jason Han, anri the expense of a filing fee/appearance fee of
            $ &*$ .ao.
      6) Jasorr Han charges an hourly rate of $250 perhour'

      ?) Jason Han has spent a total of approximately 7.3 hours in the preparation of
         the hearing of the Order of Proteetion against Ms. Stovall, as demonstrated
         by Exhibit 1. See Exldbit 1.

      8) Section 226 also provides in pertinent part thah

            Th.e court may direct that a copy oian order entered under this
            Section be provided to the State's Attorney so that he or she n:ay
            determine whether to prosecute for perjurT.


WHEREFORE, Respondent, GRACE STOVALL, respectfully requests that this
honorable Court ta enter an order that Petitioners are to pay the reasonable attorneys'
fees and expenses incr:rred in defending herself in tbjs aetion, and, that the Court
d.irect a copy of the order to be provided to the Cook County State's Attorney so that
she mav determine whether to prosecute for perjury'


                                                                   pectfully submitted


                                                                Attorney for Grace Stovall




#58606
Jason Han
Law Offi.ce of Jason Han
208 S Jefferson St., Ste. 204, ChicaSo, IL 60661
Ph: (872) 201-0088
Fax: (872) 228-9569
J ason@JasonHanlaw. com


                                                                  Exhibit Page 90 of 115 |
STATE OF     TLLTNOTS )
                                ) ss.
co{r{lYor cooK                  ]
                nN    ?m cIRC{itT couRI       oF CooK coIINTy, fi.LrilOrs
              ACIU}{TY DBFARTMENT, I}OMESTIC VIOLENCE BIVISION

Grace Stovall
                                PIehttff,           )
                                                    J
                vs"                                 )       No:     15 0P 76833
                                                    i
 AEy E. MeCarS                                       )
                                                     )
                                                     )
                                Befendant            i
                                            AT.MDAVIT

     I, Rudolph V. Ruiz,oflqalaggandsoundrrdndrtivingat42SON"MarineDr.,ifswoln

as awitness   under oath and hrving perronal knowledge of the followfrug fucts state:

  I was rvtainsd to move properly belonging to Crmce Stovall. I was prment oa locatiou at 4250 N.
Mrine kive apartnent 724 on Saturday October 1, 2016 oa or about 9:00        a-rn- ert which time,
 IpersorallyobsenedanddidinfactwitnessAttorneyAnyMcCa$ycoumitaggravatedassarltaad
 battery on the physleal person of Crace Storiall. Jamie Bender and Ingrid Broun were prese, rt ard
 assisted-

  Ms. Stovall was attempting to sr(efilte a court order issrrsd with the zuthority of Judge Daniel
 DegnanftobdecasenumbqZA1,6P2S9S, ailowinghertoremoveherpersonalpropertyfromthe
 rpartment #,724. She was connpletely preveoted from orecnting the cor:rt order by the above stated


 FurtherAtrant saifhuoL




  Subscribed and sw-orn to bpfo
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                                                                  Exhibit pase sr ot
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            IN THE CrRcrrrr COT,RT OF COOK COUNTY, STATE OF ILLINOTS




GRACE L, STOVALL

      Plaintitr

           vs
                                                                    CaseNo.20L6 P
Jamie Bender, Amy McCarty,
Midwest Care }danagement Services
Benj amin Topp, Ingrid Brown,
Mark Ricks of @ Home Healthcare,
Jason Harr, Jay T'a}r,l

 Defendants



                                                       Affidavit

 I Grace L. Stovall, being of legal age, if sworn as a witress under oath        and having personal
 knowledge of the following frots state:

 I Grace L. Stovall have personally seen Defendant Atto*ey,A*y M"e.dy                w*ing *y     cloth"t
 tr.at she stole fromme April25,2016

 Defendaut Attomey Amy McQarty andher cohorts Dd€ndmt DruoaDorfoet,
 Defendant Midwest Care Manag€@ent,Beqi@io T-opp; Defendamt,Jarrie Bender md
 Defendant Ingld Brovm stole my possessions from my bedroom locded d.425;A N. Mrine Dr.
 Condo # 724 Chicago, IL on April 252016

 These matiers are cr:rrenflyin titigation in au Injunction case        I filed in the Chancery sout qgainst
 the Defendants. Chaocery cor:rt case #2016CH13234

 Further Affiant Sayith    no!

--Crrace
           L- Stovall

  Subscribed to and sworn to before me   ,Ui,   fl   Ouf   o4z\fi




                                                                                Exhibit page 92 of 115
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Chicago Police Depafirnent - lncident Repoft

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          Victim lnformation Provided



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                                                                                                        Exhibit page 93 of 115
Dec. 14,2016




To: Mark Ricks
@ Home Healthcare/Ricks Services
1715 E.55s Sneet
Chicago, Illinois 6061 5

RE: Violation of the Personnel Record Review Act

Mr. Mark Ricks you have refirsed my request to allow me to view my employee personnel file
which is in violation of the Personnel Record Review Act and you have refused to ensnre that I
retieve my personal properly from myjob site/residence.

Your are in violation of a legal requesl

lt is now over 9 months later   and you still refise to comply with the law.

Please be advised you leave me no altemative but to take legal action to satis$ my request.




&{tu
Sincerely,




Grace Stovall
5114 S.Ingleside
Flr.   1

Chicago, Ill 60615
773-936-3109




                                                                     _ Exhibit page 94 of 115
Chicago Folice Department - lnbident Repqrt                                                   RD#:        H2456788




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    IN SUMMARY R/O WAS DISPATC                    LOCATION TO INVESTIGATE A DISTURBANCE. AT THE ABOVE
    LOCATION IT WAS RELATED TO                   (vrcTrM AND COMPLATNANT) AND GRACE STOVALL (VlCTlM




     oTIEn pHopenw Af Tue ABoVE LocATIoN. BoTH VICTIMS WERE OFFERED TREATMENT FROM CFD AND BOTH
     VICTIMS REFUSED TREATMENT FROM CFD AT TIME OF THIS REPORT. NEITHER VIGTIM HAD VISIBTE INJURIES RELA
     TO SAID INCIDENT. VICTIMS WERE GIVEN VIN AND ADVISED WARRANT PROCEDURES.
      . STAR#:3786 NAME: BOBERT MURPHY BEAT: 1915
      - STAB#: 186eG NAME: KRZYSZTOF GNIEDZIEJKO BEAT: 191

                            Star No           Name                          Date                       Unit      Beat

                            2271              WABD' Angel, F                01 Oct 201 6 'l 1 :33      019




 ffi,',*                    3786              MURPHY, Robert, T             01 Oct 2016 11:24          019       1915




                                                     Page   3   of   3                              08-FEB-2017 12:20



                                                                              Exhibit page 95 of 115
Anonymous said ...
I was an attorney in the court room that day and was disgusted. Amy McCarty
was the attorney along with Joe Monahan of Monahan & Cohen from Chicago.
Amy McCarty was particularly brutal during the hearing and ran the courtroom.
She was a pit bull against this gentle caring daughter. I am ashamed this has not
been addressed for filing a false petition. The daughter was caring and loving
devastated by these hijacking tactics. Who gets behrveen a daughter and her
mother with these trumped up reasons ?
What does anyone know about Amy McCarty. Please post it.
She should be disbarred for this.
Thursday, Janua ry 27 ,2OLl12:34   0O am




Anonymous said...
My recommendation: file a complaint with the ARDC.. it won't be her first.
Thursday, January27.2011   111 51 00 am




Anonymous said               ...

Amy McCarty works on a retular basis with Northwestern Hospital. She is has also been
watched in the courtrooms and has a history of turning simple cases in convoluted cases
which allow her excessive attorneys fees to be charged.
lf your loved one was exploited by Amy McCarty, please report her actions to the state and
federal officials, as well as the ARDC.
Sooner or later she'll need to be held accountabte for her actions.
The sooner the better.
Friday December 16, 2011 7:09 Pm




Amy McCarty was recently seen in a Cook County Couftroom attempting to gain a client.
Amy McCarty replied: your honor this is truly a contested case, and l'm ready to take it.
Fortunately for the woman caring for her uncle, the judge didn't buy Amy McCarVs attempt
to convince the judge it was a contested case.
 It is pretty sad when attorneys go fishing in the court for cases.
 Shame on Amy McCartY.
 Sunday December 18,2011 9:45 00 Pm                     Referenced fipm the Natlonal Assoclatlon



                                                                           Exhibit page 95 of 115
                                           JASON HAN
                                          Attorneyat Law

June 6,2016

Ms. Amy McCarty
Monahan Law Group, LLC
55 W Monroe St.
Suite 3700
Chicago,IL 60603


                      Re:   Order of kotection, In re: Brown
                            Cook County Case No. 2O1&P-2698

                           $'ORSTEmLEMENT PUnPOSES ONLy

Dear Ms" McCarty

      I  +m writing to memorialize our earlier conversation over the phone today, and
to propose the following sef,tlement in lieu of a heariag regarding your clienf,s petitioa
for a plenar5r or.der of proteetion against uy client, Grace Stwall

       My client proposes that the petition against her be dismissed aad that her
personal property be retumed to her. Further, as she has been unable to procure
employmeat sinee the incidents in t,Lis case, she would like the erperrse of the retura
of her properl,y to be borne by someone other than herself. In ex&ange, she will agree
that all of the terms of the curent emergency order of protectioa to remain in place,
ineluding that she and any of her agents are to have no coataet with Roberta Brown or
Roberta Brown's residence. AIso, she will agree to uot willingly parhieipate ira
other contested matters coacerning Roberta Brown or Roberta Browa's estate "ny   unless a
court order or subpoena by your client or the cross-petitioners maadate that she do so.

       Esseutially, Ms. Stovall is willing to completely walk away and, have no fitther
involvement in anybhing regarding Roberta Brsw'n or Roberta Brown's estate. She
would very much iike to rtrove on with her life but of course, she would like the return
of her persoual property.

      Please contaet me once youte consulted with your dient. I trr:Iy hope we can
quickly settle this matter to the satisfaetioa of both of our elients.

Kind regards,



Attorney for Grace Stovall                                       Exhibit page 97 of 115

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)ate           Cllent          Matter                Work Performed                          Tlme Spent       Tlrne Start     Time   SEop
                               In re: Roberta        Dld the inlHal lntake wtth cilent to
  5/812016 Grace Stovatt       Brown, 2016 P Z59S    'ptan how io oppose emelgenry OP
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                               In re: Roberta        fon dliect snd cross.fsi heBrlr€ set
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                               In rel Rsbefta
 5lLOl2!16 Gmce Stovall        Brown, 2016 P 2598    Cr€at€d mouon for sanc$ons                      i.z          8:06   AM      9:15   AM
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                                                                                            Exhibit page 9g of 115
                                         Roberta Brown
                                  4250 N" klarine Drive ApL7Z4
                                      Chicago,[Iinois m6f3

                                            April81 20f6

C+rtifred Mail:
To; Jay Steven Zabsl, Esq.
55 West Monroe Street Ste": 39S)
Chieago,IL 6ffi03-5056                                              Re.: Estate of Roberta Brown
312 201-9800
3l2 20r-143s

Ilear Counselon

        Please be advised, that I Roberta Bmrrn being of sound mind md
                                                                       spirit do hereby make
the following declarations indicated belowregarding any acrd all matters, tegA
                                                                                or otfi,rrruise,
conceraing the admiaisfiation or execution of my business affairs:

        1-     Fundament*lly, there are to be no decisiory fiual or other.wise, administercd
               or executd without my direct auttority and original signature, rhich will
               include:

               (a   )   AII transactions itrvolring stocks, bouds, market investmerts, mutual
                        funds bank accounts (checling, seyins safety deposit boxes or
                        certificates of deposit)

               (b   )   A,II insumnce policies     (Life, health, property or othern'ise)

       2.      f further revoke and rescind, any ard all, exis'"rg documents which designate
               authority' oYer or coneetning my business afrairs or wtate, to individuals oth"t
               than mysclf or designated lcgal counsel.

      I feel that it is necessary thx any and all institutions, direc.tly involved in the admiuistation
of my estate, be officially notified oi *y updated position for future reference- r am further
requesting, origin*ls or hard copies of aII documents, if any, currently in your possession
which are relcrvant to authorify desiguated to any 2d or 3"d parties other than myielf.

 In conclusiopr l am submitting this correspondence in the stricte^st       of   confidence under the
rules of attorney, client privilege.




                               Exhibit page 99 of 115
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                                                            this cor:rt erater an order:
                      petitioner respectfully requests that
        *HEREF'RE,

        l.Qu.shiogthesubpoenaforRecordsservedonWellsFargoAdvisors,LLC;

        T.DirectingSharonFrazinorhercounseltoturoovertolngridBrownorher
               couaselanydocumentsreceivedinresponsetoanysubpoenaissuedanddestroy

               anY coPies; and

         3.ForzuchotberandfirrtherreliefasthisCor:rtdeemsappropriateandjust.


                                                    Respec6rllY zubmitted"




     Amy E. McCartY
     M;rh* Law GrouP' LLC
     55 West ivlonroe St'
     suite 3700
                                                                          I
     Chicago, Illinois 60603
                                                                     ir       .:




      317-419-025?
      Aftorney No' 49083




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                                                                                  Exhibit page 101 of 115
False imprisonment

Description : False imprisonment occurs when a person
intentionally restricts another person's movement within any
area without legal authority, justification or consent. ACtual
physical restraint is not necessary for false imprisonment to
occur. Wikipedia




                                        Exhibit page 102 of   tt5
   Character Assassination Law and Legal Definition
                                                             '   Character Assassination refers to the
                                                                 slandering or vicious personal verbal attack
                                                                 on a person with the intention of destroying
                                                                 or damaging that person's reputation or
                                                                 confidence. ln other words it is malicious
                                                                 verbal assaults designed to damage or
                                                                 tarnish the reputation of a person. Once
                                                                 done, these acts are often difficult to reverse
                                                                 or rectiff. Therefore it is likened to a literal
                                                                 assassination of a human life. The damage
                                                                 sustained can last a lifetime or, for historical
                                                                 figures and important personalities, for
   many centuries after their death.

   It.involves a deliberate attempt to destroy a person's reputation, especially by criticizing
   them in an unfair and dishonest way when they are not present. lt can also involve
   exaggeration or manipulation of facts to present an untrue picture of the targeted
   person, double speak, spreading of rumors, innuendo or deliberate misinformation on
   topics relating to the subject's morals, integrity, and reputation. lt is a form of
    defamation.



     O Legal Definition list

htFs://defi nitlons.uslegal.com/c/character-assassinatlon/




                                                                             Exhibit page 103 of 115
 StalRing No Conhct Order
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                                IN.TEE CIRCUIT COURIOF'COOK COITNfY, ILLIfTIOIS

People ex rel.
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                                                             Respondent



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i'he   following pcrsqu, ero protected   bry   this Order:


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W G) (r)        The Respondent is pr.ehibited from threatening to commit stalking orcormftting stalking, ,.$akiriE,
                meatrs engaging in a "cour$e of eonduct" directd *t a speeifie person, when you know
                                                                                                              orshould know
                that this course of condtct would cause e reasoneble person to fear fior his or her safety
                                                                                                                or dre *f*y ot
                a third pers@ qr su.ffer enrotionel distness. A. statking *course of conduct, iucludes acts
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                directly, indirectly, or through third parties, by any itcliro'n, metlrod, de,vipq orn eans fi"1t"%
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                obserre, surveil, thre*ten, or comrnu[icate to or about, a percon; or etrgage in sther coutacfi
                interfene with or damage a pbrson's proper.ty or pet. Statking can include cortact via eleetronic
                eommunications. .See 740.ILCS 2lll0 for additional definitious.
                                                                                                                         Page   I of2
                                                                                 Exhibit page 104 of 115
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                                                                     PETITION FORST^LKIFIG NOCONTACTORDER                                                            dp'gFsIHX-?ffiHS
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Steltcing No eontact      Order                                                                         (Rev.8t23tf0)   qqc 08Li 4

                                IN TEI,. CIRCTIIT COI]RT OT COOI< COUNTY, ILLINOIS

People ex rel.
                                                                                     Case No.
                                                            on behalfof

                                             self and/or on behalf       of          El" Iuaepundent Proceeding
                                                                                     D Cri*inal Proceeding
  GAarE L.                            -5Y;,,r-./L
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                                                             Petitioner
                                                                                     fl    Juvenile Proceidiag


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PETITIONER                                  ADDRESS                                             ISTATE/ZIP

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t'The miaor childr?en'neferred to herein are ;



      (b)   (l)   The Respondent is prohibited from threatening tO commit stalking or committfurg stalking. "Stalking"
                                          occurse of conducf" filrected at a *pecifrc persoDr when you knom orshould knsrv
                  means engaging in a
                  that this Gou6e of conduct would cause a reasonable person to fear for his or her safety or the srfety of
                                                                            *cout€e of conduct' includes acb in whieh you
                  e third person or sulfer emotional distre$s. A s$lning
                  directty, indirectt5r, or through third parties, by any action, method, devicg or meatrs follow, monitm,
                  oboe1e, surreil, threaten, or communicate to or about, a pcrsou; or engagein other contac! or
                  interfere rrith or damage a person's property or pet Stalking can include eoutact via ehetrodc
                  eommunications. See 740 ILCS 2ll10 for rdditional definitions.
                                                                                                                        Pagel6tz
                                                                              Exhibit page 106 of 115
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                $aid eddresees aFB:                                           br.        72_.t (UJ{_

tl      &)   (31(AUaal dotlce to Rapandent required) The Rerpondent ic prohibited from reoaining at Recpondenttc
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f] Ol (a) The $eepmdent is prohibited frsm pocseesing s Firearn Orv[er's ldentification Card or porser*ing
        {b) (5) T[e following other'injunctive



                The Recpondent is orderrcd to pay the Petitibner'r diE*s"'thclqding attorney fqqiT-




                If an emergency order, the reasors for                                                          to the Bespou-
                dent:



                IlRespondentdid not ncseive notice of.tte                                                 ogr[ft to reopen the
                order.if s/he has a ueritorious defense or the

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                                                                                                           ILLINOIS

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                                                                   PETTTION-FOR STALKING NO CONTACT
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  4z5a NORTH MARINE   DRIVE   CHICACO, tt- 6o6t3




                          Exhibit page 109 of 115
                                           4250 NO RTH MARI                                                    NL      DRrVE CHICACO, lL 6061J
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Our Amenities



s,.t6   f,tnos c6ntor. londing library laurdry fadlity, availabl€ storag€ locksrs, and a hosp'rlallty room ttEi can b€ lo68od for part€s and othor special ovonts.

                               Servlces                                                                        Recreation                                                Faciliti€s




 Z:lfI lloorman, Sscurtty & Front Desk Staff                                 Swlmmlng Pool                                                     Second Floor Lounga, Lendlng Llbrary
                                                                             our outdoor pool provkl€s tho porfed venuB b €nioy lh€            Ths South Tolver socond f,oor rn€2zanin€ b fumi'9h€d
 Our lobby tocop0on dosk ls staffod around the clock.
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 enhanced by the prosoncs o{ I d€dicatBd socurity offic6r                    annually in our pool brochurB snd mombor8htp appncafion.
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 olghtoon hoult I day. Th€ dlr€ct t€l€phono numbor for tho
  lobby rsoaptlon dosk ls Z3-9298797.                                            members of our Condomlnum Family at no cost.

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  Rocelvlng Room                                                                 Socond Floor gund€ck                                          Haated On€lte Undorground Parldng
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  Room is op6n from 7:30 a,m. to 6i30 p.m. Mondaylhrough                     boture6n tho two loiYer3, the Sundoc*'rr€lcorn€s rEsidents        TowBrs ofisrs a hoaiod patldng hc{lity managsd by LAZ
  Fridav and fyom a:30 8.m. until 1:00 p.m' on Saturday. Th€                 a9 th€y wslk through a Jepan€sa courtyard glsrdon. Tha            Pa*ing Ctllcago ard ls a 2Afl fully auonsteo sofl-p€'k
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  c€n bs loachocl at 773-929'8313'                                                                                                              7047.
                                                                                 is availabl€ on th€ sundeck

                                                                                 Grlll Center                                                   Storage Lockers / Blcacle Storaga
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                                                                                                                                       Exhibit page 110 of 115
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  Exhibits: Pictures of meats that (hired cook)Robin
                                                     webber cooked
  for Roberta everyday, T days a week.




                                         Exhibit page 111 of 115
Exhibits: Pictures of Roberta Brown eating in her kitchen
the meals that Robin Webber cooked everyday, for breaHast, lunch,
dinner and snacks.




                                          Exhibit page 112 of 115
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Exhibit: Picture of Grace's private bedroom on the day that Century
Carpet Company installed this new carpet that Roberta ordered for
Grace's bedroom. Roberta Brown wrote a check to Century Carpet
to pay for this new wall to wall carpeting that she selected with
their traveling salesman Alex.



                                              Exhibit page 113 of L15
                                             Dr. Geofrey S Shaw MD Reviews
                                                                           lNorthfreld, tL I Vitals.com




    Dr. Geoffrey S Shaw,             MD   - Reviews
Psychiatry . Northfield, lL

     Pi{ONE   NU[dtsER        READ RIVIEWS


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                                                                   &
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        Failed to properly diagnose, repofi
                                            was riddled with lies and words never said...very
                                                                                              disappolnting
        Show Full Review       -




                                     Exhibit page 114 of 115
Anonymous said ...
I was an attorney in the court room that day and was disgusted. Amy McCarty
was the attorney along with Joe Monahan of Monahan & Cohen from Chicago.
Amy McCarty was particularly brutal during the hearing and ran the courtroom.
She was a pit bull against this gentle caring daughter. I am ashamed this has not
been addressed for filing a false petition. The daughter was caring and loving
devastated by these hijacking tactics. Who gets between a daughter and her
mother with these trumped up reasons ?
What does anyone know about Amy McCarty. Please post it.
She should be disbarred for this.
Thursday, Januatyz7,2Ol,2:34 U) am




Anonymous said...
My recomrnendation: file a complaint with the ARDC.. it won't he her first.
Thursday,   January27,z0l, 1:51   0O   am




Anonymous said...
Amy McCarty works on a regular basis with Northwestern Hospital. She is has also been
watched in the courtrooms and has a history of turning simple cases in convoluted cases
which allow her excessive attorneys fees to be charged.
lf your loved one was exploited by Amy McCarty, please report her actions to the state and
federal officials, as well as the ARDC.
Sooner or later she'll need to be held accountable for her actions.
The sooner the better.
Friday December 16, 2011 7: 09 pm




Amy McCafi was recently seen in a Cook County Courtroom attempting to gain a client.
Amy McCarty reptied: your honor this is ffuly a contested case, and l'm ready to take it.
Fortunately for the woman caring for her uncle, the judge didn't buy Amy McCarty's attempt
to convince the iudge it was a csntested case.
tt is pretty sad when attorneys go fishing in the court for cases.
Shame on Amy McCarty.
Sunday December 18,2011 9:45 0t) Pm                    Referenc€d trom the l{ational Association


                                                                      Exhibit page 115 of 115
